~

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Fll (Oflicial Form l) (12/11)
ii

United States Bankruptcy Court
MIDDLE DiS’i`RlCT OF FLORIDA

Voluatary Petiti'eo

 

 

Nal\’t€ 01 D€thf (1findi\1dual enter Last First Middle)

HURLBERT III, ROYAL A.

Name of Jomt Debtor (spouse)(Lasi rust M1dd1e)

HURLBERT, ADRIENNE A.

 

All Other Names used by the Debtor in the last 8 years
(1nclude mamed, maiden and trade names)
NONE

All Other Names used by the Joint Debtor in the last 8 years
(include mamed, maiden, and trade names)
aka ADRIENNE AMMONS

 

Last four digits ofSoc Sec or lndvidual-Taapayerl D (lTlN) No /(`oinp|ete ElN
XXXXXXX4 3 8 9

tit`more than one state all)

Last four digits of Soc See or Indvidual-Ta)tpayer 1 D (lTlN) No /Complete ElN
XXXXXXX 02 89

(it' more than one, state all)

 

 

 

 

 

Street Address of Debtor mo & sweet Cli> and stme) Street Address of Joint Debtor (No & street Cm and sime>

3129 OVERHILL DR. 3129 OVERHILL DR.

Jacksonvzlle , FL LlPCODE Jacksonville , FL Z",CODE
322 7 7 322 7 7

County of Residence or of the County of Residence or of the

Prmcipal Place of Busmess Duval Prmclpal Place of Busmess Duval

Mailing Address of Debtor titdttrerem from street address) Mailing Address of Jo1nt Debtor tifdrlrereni from street address)

SAME' SAM.E'
z1PCODE zii>CoDE

 

 

 

 

 

Location of Prtncipal Assets of Busmess Debtor
(1tdil`1"erentfrom street address abo\e) NOT APPLICABLE

ZlPCODE

 

Nature of Business

(Check one box 1

l:l Health Caie Busiiiess

m Single Asset Rca| Estate as defined
in ll US(` \\` lOl (SIB)

ll Railroad

|:l Stockbrol<ei

[J C`ommodny 131 01\01

Type of Debtor tForm oforganizauon)

(Checl\ one bo.\ )
g lndividual (1ncludes loint Debtors)
See Exh)b/t D on page 2 ofthrsform
E Coi'poration (inclucles LLC and LLP)
g Partnership

m Other (it` debtor is not one of the above
erinties, check this box and state type of

entity below m Cleanng Banl\

l:l Other

Chapter of Bankruptcy Code Under Which the Petition is Filed

 

(Check one box)
*'A Chapter 7 I:] Cliapter 15 Petitron for Recognition
l:l Chapter 9 of a Foreign l\/lam Proceedtng
[l Chapter ll
m Chapte\, 12 [] Chapter 15 Petition for Recognrtion
|:| Chapter 13 of a Foreigri Nonmain Proceeding
Nature of Debts (Check one box)

g Debts are primarily consumer debts, defined
iri ll U S C §101(8) as "incurred by an
individual primarily for a personal, family‘
or household purpose"

l:l Debts are primarily
business debts

 

Chapter 15 Debtors

Country ofdebtor's center of main interests

Tax-Exempt Entity
(Checl\ box< rfapplicable.)

 

l:] Debtor is a tax-exempt organization
Each country in which a foreigi proceeding by.

under Title 20 of the United Sta!es
regarding or against debtor is pending

Code (the lnteiiial Revenue Code)

 

 

Chapter ll Debtors:
Check one box:
m Debtor is a small business as defined m ll U S C § 101(51 D)
l:l Debtor is not a small business debtor as defined in ll U S C § 101(51D)

 

Filing Fee (Check one box)

m Full Filing Fee attached

ll Filing Fee to be paid iii installments (applicable to individuals onlyl l\/lust
attach signed application foi the court’s consideration certifying that the debtoi
is unable to pay l`ee except m installments Rule 1006(b) See Ol`t'icial Fonn "vA

Fi|ing Fee waiver requested (applicab|e to chapter 7 individuals 0nly) M ust
attach signed application foi the court's consideration See Oft'i cial Fonn SB

Check if:

|:| Debtor’s aggregate noncontingent liquidated debts (e)tcluding debts
owed to insiders or aft`iliates) are less than $2,190,000

Check all applicable hoxes:

m A plan is being filed with this petition

m Acceptances of the plan were solicited prepetition from one or more
classes ofcreditors, in accordance with 1 l U S C § 1 126(b)

 

 

 

 

 

 

Statistical/Administrative Information TH!S SPACE 15 FOR COUF§BUSE ONLY
l:l Debtor estimates that funds will be at a.ilable for distribution to unsecured creditors
g Debtor estimates that` after any exempt propeny is excluded and administrative expenses paid, there will be no funds available for
distribution to unsecured creditors
Estimated Number of Creditors
1_11) 509‘) 100~11)‘) 200~~)99 1 000- 5 001- 10 00 i- 25~001~ 50 001 - 01 er
5 000 10 000 25.000 50`000 100,000 100000
Est1mated Assets
$010 1150 001 10 5100001 10 s§<it)_<)()l 1;1 000 001 110 000 001 $50,000_001 $100»000.001 3500.000001 More than
850 000 $100 000 1500 000 10 s1 10 $ 10 10 150 10 $100 to 5500 to Sl billion 1>1 billron
mill1on million m1llion million million
Estimated Liab1llties
3010 $50001 10 $100,001 10 s500 001 $1 000 001 `1,10000001 550,000 001 S100000,001 3500,000 001 More ihan
350 000 Sll)() 1100 $51)01)011 to $l 10 $l(> to S$<l to 3100 to 3500 to $1 brllion $l billion
million million mlllion million million

"_!\','|

 

 

 

 

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131 (ofiiciai Form i) (iz/i 1)

FORM Bl, Page 2

 

Voluntary Petition
(This page must be completed andfi[ed m every case)

Name of Debtor(s)
ROYAL A. HURLBERT III and

ADRIENNE A. HURLBERT

 

All Prior Bankruptcy Cases Filed Within liast 8 Years

(1f more than two, attach additional sheet)

 

 

Location Where Filed Case Number Date Filed
NONE
Location Where Filed Case Number Date Filed

 

Pending Bankruptcy Case Filed by any Spouse, Partner or At`filiate of this Debtor

(lf more than one, attach additional sheet)

 

 

 

 

Exhibit A
(To be completed ifdebtor is required to file periodic reports
(e g , forms lOl\' and lOO) with the Securities and Exchange
Commission pursuant to Sectiori 13 or l§(d) of the Securities
Exchange Act of 1934 and is requesting relief under Chapter l 1 )

[l Exhibit A is attached and made a part of this petition

Name of Debtor Case Number Date Filed
District Relatioriship Judge
Exhibit B

(To be completed if debtor is aii individual
whose debts are primarily consumer debts)

required by 11 U S.C §342(b)
X

Signature of Attomey for Debtor(s)

 

l, the attorney for the petitioner named in the foregoing petition, declare that 1
have informed the petitioner that [he or she] may proceed under chapter 7, l l, 12
or 13 of title 1 l, United States Code, and have explained the relief available under
each such chapter l further certify that l have delivered to the debtor the notice

12/21/2011

Date

 

or safety"

No

[___l Yes, and exhibit C is attached and made a part of this petition

Exhibit C

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health

 

Ifthis is ajoint petition

Exhibit D

(To be completed by every individual debtor lf a joint petition is filed, each spouse must complete and attach a separate Exhibit D )

w E\thibit D‘ completed and signed by the debtor, is attached and made part of this petition

g Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition

 

lnformation Regarding the Debtor - Venue
(Check any applicable box)

g Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such l 80 days than in any other District

l:l There is a bankruptcy case concerning debtor's affiliates general partner, or partnership pending iii this District

lj Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
principal place of business or assets in the United States but is a defendant in an action proceeding [m a federal or state court] in this District, or
the interests of the parties will be served in regard to the relief sought in this District

 

period after the filing of the petition

 

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes )

|:] Landlord has a judgment against the debtor for possession ofdebtor‘s residence (lf box checked, complete the following )

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

E Debtor claims that under applicable nonbankruptcy |aw, there are circumstances under which the debtor would be pennined to cure the
entire monetary default that gave nse to the judgment for possession, after the judgment for possession was entered, and

l:l Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day

l:l Debtor certifies that he/she has served the Landlord with this certification (l l U.S C § 362(1))

 

 

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Bi (orriciai Form i) (iz/i i)

FORM Bl. Page

3

 

Voluntary Petition
(T his page must be completed and filed in every case)

Name of Debtor(s)
ROYAL A. HURLBERT III and

ADRIENNE A. HURLBERT

 

Signatures

 

Signature(s) of Debtor(s) (Individual/Joint)
l declare under penalty of perjury that the information provided in this
petition is true and correct
[lf petitioner is an individual whose debts are primarily consumer debts
and has chosen to tile under chapter 7] l am aware that 1 may proceed
under chapter 7, l 1, 12, or 13 oftitle 1 1, United States Code,
understand the relief available under each such chapter, and choose to
proceed under chapter 7

[If no attorney represents me and no bankruptcy petition preparer
signs the petition] l have obtained and read the notice required by
11 U S C §342(b)

l request relief in accordance with the chapter of title 1 1, United States

Code, sman th petito
X GJJM
1
Signature l`D btor
x VAMMWM
S

ign ure ol`Joint Debtor

654-5447

Telephone Number (ifnot represented b) atiome\)

12/21/2011

Date

Signature of a Foreign Representative

l declare under penalty of perjury that the information provided in this
petition is true and correct, that I am the foreign representative of a debtor
in a foreign proceeding and that 1 am authorized to file this petition

(Check only orie box )

|:| I request relief in accordance with chapter 15 of title 1 1 , United States
Code Certified copies of the documents required by 1 | U S C § 1515
are attached

l:] Pursuant to 11 U S C § 151 l, l request reliefin accordance with the
chapter of title l l specified in this petition A certified copy of the
order granting recognition of the foreign main proceeding is attached

X

 

(Signature of Foreign Representative)

 

(Printed name of Foreign Representative)

 

(Date)

 

Signature of Attorney*

_X

Signature of Non-Attorney Bankruptcy Petition Preparer
l declare under penalty of perjury that (11 l am a bankruptcy petition

 

Signature ofAtiome\ for Debtor(S)

preparer as defined in 11 U S C § 1 lO, (2)1 prepared this document for
compensation and have provided the debtor with a copy of this document

and the notices and information required under l l U S C §§ 1 10(b),

 

Printed Name ol`Atiome§ |`or Debtor(s)

l lO(h), and 342(b), and, (3) ifrules or guidelines have been promulgated
pursuant to 1 l U S C § 1 10(h) setting a maximum fee for services

 

Finn Name

bankruptcy petition preparers, 1 have given the debtor notice of the
maximum amount before preparing any document for filing for a debtor
or accepting any fee from the debtor, as required in that section Official

 

Address

Form 19 is attached

 

BOB PALMER

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

XXX-XX-XXXX

 

Te|ephone Number

 

Social-Security number(lf the bankruptcy petition preparer is not an
individual, state the Social-Securlty number of the officer, principal,

 

Date

*In a case in which § 707(b)(4)(D) applies, this signature also
constitutes a certification that the attorney has no knowledge
after an inquiry that the information in the schedules is incorrect

responsible person or partner of the bankruptcy petition preparer )
(Requiredby 11 USC §110)

848 CASSAT AVE.
Address

L 3220

 

 

Signature of Debtor (Corporation/Partnership)

l declare under penalty of perjury that the information provided
in this petition is true and correct, and that l have been
authorized to file this petition on behalf of the debtor

The debtor requests the relief in accordance with the chapter of
title l |, United States Code, specified in this petition

_X

 
 

12/21/2011

 

Date

Signature of bankruptcy petition preparer or officer, principa|,
responsible person, or partner whose Social-Security number is provided

Names and Social-Security numbers of all other individuals who prepared
or assisted in preparing this document unless the bankruptcy petition
preparer is not an individual

 

Signature ofAuthon/ed lndi\idual

 

Printed Name ofAuthon/ed lndi\idual

If more than one person prepared this document, attach additional
sheets conforming to the appropriate official form for each person

 

Title oI`Authon/ed lndi\idual

A bankruptcy petition preparer 's failure to comply with the provisions of title
l l and the Federa/ Rules of Bankruptcy Procediire may result in fines or
imprisonment or both ll US C § ll0; 18 US.C § 156.

 

Date

 

 

 

 

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B1D(Officia| Form 1, EXhibit D) (12/09)

UN|TED STATES BANKRUPTCY COURT
MlDDLE DlSTRlCT OF FLOR|DA
NORTHERN DlVlSlON

|n re ROYAL A. HURLBERT III Case No.
and (if known)

ADRIENNE A . HURLBERT

 

Debtor(s)

EXH|B|T D - lND|V|DUAL DEBTOR'S STATEMENT 0F COMPL|ANCE WlTH
CRED|T COUNSEL|NG REQU|REMENT

WARN|NG: You must be able to check truthfully one of the five statements regarding credit counseling listed below. |f you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do fi|e. |f that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. lf your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.

Every individual debtor must Hle this Exhibit D lf a joint petition is filed, each spouse must complete and tile a separate
Exhibit D Check one of the five statements below and attach any documents as directed

§ 1 Within the 180 days before the filing of my bankruptcy case, | received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis and | have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency

l:l 2 Within the 180 days before the filing of my bankruptcy case, l received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but | do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed

[] 3. l certify that l requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time | made my request and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so | can file my bankruptcy case now.

[Summanze exigent circumstances here ]

lf your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.

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310 (ofriciai Form 1, Exhibit D) (12/09)

l:| 4 | am not required to receive a credit counseling briefing because of' [Check the applicable statement]
[Must be accompanied by a motion for determination by the court ]
|:l incapacity (Defined in 11 U S C § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
[:| Disabi|ity (Defined in 11 U.S C. § 109 (h)(4) as physically impaired to the extent of being unab|e, after
reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the |nternet.),
|] Active military duty in a military combat zone

lj 5 The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
of 11 U S,C § 109(h) does not apply in this district

| certify under penalty of perjufyé.” that th infor Yioan/yd eWe is true and correct.

Signature of Debtor.

 

Date- 12/21/2011

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B1D(OfficialF0rm 1, Exhibit D) (12/09)

UN|TED STATES BANKRUPTCY COURT
MlDDLE DlSTRlCT OF FLOR|DA
NORTHERN DlVlSlON

in re RoYAL A. HURLBERT III Case No.
and Chapter 7
ADRIEth A. HURLBERT

 

Debtor(s)

EXH|B|T D - lND|V|DUAL DEBTOR'S STATEMENT OF COMPL|ANCE WlTH
CRED|T COUNSEL|NG REQU|REMENT

WARN|NG: You must be able to check truthfully one of the five statements regarding credit counseling listed below. if you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. if that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. if your case is dismissed and
you file another bankruptcy case iater, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.

Every individual debtor must Hle this Exhibit D /f a joint petition is filed, each spouse must complete and tile a separate
Exhibit D Check one of the five statements below and attach any documents as directed

§ 1. Within the 180 days before the filing of my bankruptcy case, i received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and i have a certificate from the agency describing the
services provided to me Attach a copy of the ceitiHcate and a copy of any debt repayment plan developed through the agency

[:] 2 Within the 180 days before the filing of my bankruptcy case, i received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but i do not i have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed

[:| 3. i certify that i requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time i made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so | can file my bankruptcy case now
[Summarize exigent circumstances here ]

if your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
briefing.

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B1D (Officia| Form 1, Exhibit D) (12/09)

I:] 4. i am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court ]
[I incapacity (Defined in 11 U S C § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.),
|:l Disabi|ity. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unabie, after
reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the internet.);
|:] Active military duty in a military combat zone.

l:| 5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
of 11 U.S C. § 109(h) does not apply in this district

w ¢certify under p n ty f perjury thwr[r$tion Frovided above is true and correct.
Signature of Debtor

Dat€¢ 12/21/201 1

 

Case 3:11-bk-09185-.]AF Doc 1 Filed 12/22/11 Page 8 of 51

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
P E T I T I O N W O R K S H E E T

CASE NUMBER...: 11-09185-3F7

DEBTOR........: HURLBERT, ROYAL A, III

JOINT.........: HURLBERT, ADRIENNE A

FILED.........: 12/22/2011 CASE TYPE: J COUNTY: 12031
WHERE.........: [O]

TRUSTEE.......: [CREWS]

WHEN..........: FRIDAY FEBRUARY 03, 2012 AT 8:30 a.m. [43]

MATRIX l INST. APP. 20 LRG UNSEC. MATRIX (CH ll)
MATRIX ON DISK SOAR

PRO SE 20 LRG UNSEC. LIST (CH ll)

DISC. OF COMP.
EXHIBIT "A" (REQUIRED IF DEBTOR IS A CH ll CORPORATION)
SUMMARY OF SCHEDULES
SCHEDULES A- J (INDICATE UNDER COMMENTS IF ANY ARE MISSING)
DECLARATION UNDER PERJURY
STATEMENT OF FINANCIAL AFFAIRS
CH 7 STATEMENT OF INTENTIONS
CHAPTER 13 PLAN

COMMENTS:

 

 

CLAIMS BAR DATE: / / / COMPLAINT DATE: / /
Fee information:

Total -> $0.00

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86 Summary (Official Form 6 - Summary) (12/07)

UN|TED STATES BANKRUPTCY COURT

MlDDLE DlSTRlCT OF FLOR|DA

NORTHERN DlVlSlON

|n re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT

Case No.
Chapter

/ Debtor

 

SUMMARY OF SCHEDULES

7

indicate as to each schedule whether that schedule is attached and state the number of pages in each Report the totals from Schedu|es A, B, D, E, F, i, and J in the
boxes provded Add the amounts from Scheduies A and B to determine the total amount of the debtors assets Add the amounts of ali claims from Scheduies D, E, and
F to determine the total amount of the debtors liabilities individual debtors must also complete the "Statisticai Summary of Certain Liabiiities and Related Data"if they

hie a case under chapter 7, 11, or 13

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Attached No. of
NAME OF SCHEDULE (YeslNo) Sheets ASSETS LlABiL|T|ES OTHER
A-Reai Property
Yes 1 $ 95 , 000 . 00
B-Persona| Property
Yes 3 $ 13, 720 . 00
C-Property Ciaimed as
Exempt Yes 1
D-Creditors Hoiding Secured
claims Yes 1 $ 1 73, 128. 00
E-Creditors Hoiding
Unsecured Priority Ciaims Yes 1 $ 0. 00
(Totai of Ciaims on Schedu|e E)
F-Creditors Hoiding
Unsecured Nonpriority Ciaims Yes 6 $ 64 ' 676' 52
G~Executory Contracts and
Unexpired Leases Yes 1
H-Codebtors
Yes 1
i-Current income of individual
Debtor(s) Yes 1 $ 4 , 900 . 00
J-Current Expenditures of
individual Debtor(s) Yes 1 $ 4 / 903- 92
TOTAL 17 $ 108, 720. 00 $ 242,804.52

 

 

 

 

 

 

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BG Summary (Official Form 6 - Summary) (12/07)

UN|TED STATES BANKRUPTCY COURT
MlDDLE DlSTRlCT OF FLOR|DA

NORTHERN DlVlSlON

in fe ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT

Case No.
Chapter

/ Debtor

 

7

STAT|STICAL SUMMARY OF CERTA|N LlABiL|T|ES AND RELATED DATA (28 U.S.C § 159)

if you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101 (8), filing a case under

chapter 7, 11, or 13, you must report all information requested below.

|:] Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of |iabilities, as reported in the Schedu|es, and total them.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Type of Liabiiity Amount
Domestic Support Obligations (from Schedule E) $ 0 . 00
Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E) $ 0 . 00
§ilsa|i)nl:sefdb(r,?::g:s¢;rul:;§)sonal injury While Debtor Was intoxicated (from Schedule E) (whether s 0 . 0 0
Student Loan Obligations (from Schedule F) $ 0 . 00
Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on 5 0 . 00
m E
Obligations to Pension or Prot"it-Sharing, and Other Similar Obligations (from Schedule F) $ 0 ~ 00
TOTAL $ 0 . 00
State the following:
Average income (from Schedule l, Line 16) 5 4 , 900 . 00
Average Expenses (from Schedule J, Line 18) $ 4 , 908 . 92
current Monthiy income (from i=orm 22A Line 12; oR, Form 223 Line11; oR, Form 220 Line 20) s 4 , 900 . 00
State the following:
1. Total from schedule D, "uNsEcuRED PoRTioN, iF ANY" column $ 71 , 128 . 00
2. Total from schedule E, "AMouNT ENnTLED ro PRioRiTY" column s 0 . 00
3. Total from schedule E, "AMouNT NoT ENnTLED To PRioRiTY, iF ANY" column 5 0 . 00
4. Total from Schedule F $ 64, 676. 52
5. Total of non-priority unsecured debt (sum of 1, 3, and 4) $ 135, 804 . 52

 

 

 

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FORM BSA (Official Form SA) (12/07)

`li`l fe ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT

 

Debtor(s)

SCHEDULE A-REAL PROPERTY

Case No.

(if known)

Except as directed beiow, list ali real property in which the debtor has any lega|, equitabie, or future interest, including all property owned as a

cotenant community property, or in which the debtor has a life estate. include any property in which the debtor

holds rights and powers

exercisable for the debtor’s own benefit if the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “,”H “W," ‘J" or “C" in the column labeled “Husband, Wife, Joint, or Community." if the debtor holds no interest in real property, write

“None" under “Description and Location of Property ”

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory

Contracts and Unexpired Leases.

if an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured ciaimc See Schedule D. if no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Ciaim."

if the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property

Ciaimed as Exempt.

 

 

 

 

 

 

 

 

 

 

Description and Location of Property Nature of Debtor's C\;';:::t Amount of
interest in Property of Debtor.s lmerest, Secured Ciaim
Husband__H in Property Without
Wife__w Deducting any
Joint__J Secured Ciaim or
community__¢ Exemption
HOMESIEAD- 3129 OVERHILL DR, Fee Simple J $ 95, 000 . 00 $ 95, 000 . 00
JAQ(SONVILLE, FL 32277
No continuation sheets attached TOTAL $ 951 000 ' 00
(Report also on Summary of Schedules.)

 

 

 

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BSB (Official Form GB) (12/07)

~|n re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT Case No.
Debtor(s) (if known)

SCHEDULE B-PERSONAL PROPERTY

 

Except as directed below, list ali personal property of the debtor of whatever kind if the debtor has no property in one or more of the categories,

place an “x” in the appropriate position in the column labeled “None." if additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. if the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H," "‘,W` ‘J" or “C” in the column labeled “Husband, Wife, Joint, or Community ” if the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Ciaimed as Exempt

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.

if the property is being held for the debtor by someone eise, state that person’s name and address under “Description and Location of Property " if
the property is being held for a minor child, simply state the chiid's initials and the name and address of the chiid's parent or guardian, such as
"A B , a minor chi|d, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S C §112 and Fed. R. Bankr. P. 1007(m)

 

Current
Va|ue
of Debtor's interest,

Husband__H in Property Without
Wife__w Deducting any
Joint__J Secured Ciaim or

Community--C ExemPinI\

Type of Property Description and Location of Property

 

 

Q=OZ

 

 

><

1. Cash orr hand.

2. Checking, savings or other financial X
accounts, certificates of deposit, or shares
in banks, savings and ioan, thnft, building
and ioan, and homestead associations, or
credit unions, brokerage houses, or
cooperatives

3. Security deposits with public utilities, X
telephone companies, landlords, and
others.

4. House_hoid goods_and furnishings, COUCH, LOVE SEAT, TABLE, TABLE W/4 CHAIRS, J $ 4 00. 00
;",fj}':,;,"§,;"_""‘°'""‘°°"""“°°""’“‘°' HUTCH, 2 BEDs, 3 cHEsTs, 2 DREssERs,
MICROWAVE AND SMALL TABLE'
Location: In debtor's possession

5. Books, pictures and other art objects, X
antiques, stamp, coin, record, tape,
compact disc, and other collections or
collectibles.

6. Wearingappare|. CLOTHING J $ 250. 00
Location: In debtor's possession

7. Fursandjewe|ry. JEWELRY J $ 120. 00
Location: In debtor's possession

8. Firearms and sports, photographic, and X
other hobby equipment

9. interests in insurance policies. Name X
insurance company of each policy and
itemize surrender or refund value of each.

10. Annuities. lternize and narrie each issuer. X

. interest in an education |RA as X
defined in 26 U.S.C. 530(b)(1) or under
a qualined State tuition plan as defined in
26 U.S.C. 529(b)(1). Give particulars.

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Page 1 of 3

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sss iorficiai Form ssi (12/01)

~|n re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT Case No.
Debtor(s) (if known)

SCHEDULE B-PERSONAL PROPERTY

 

(Continuation Sheet)

 

 

 

 

 

Current
Type of Property N Description and Location of Property Va'"°
of Debtor's interest,
0 Husband__H in Property Without
n Wife__W SDeducting _any
J°int__J ecured C|_aim or
e Community--C Exempt'°"
(Fiie separately the record(s) of any such
interest(s). 11 U.S.C. 521 (c).)
12. interests in iRA, ERisA, Kcogh, or other X
pension or prot'n sharing plans. Give
particulars.
13. Stock and interests iri incorporated and X

unincorporated businesses. ltemize.

14. interests in partnerships or joint ventures. X

ltemize.
15. Govemment and corporate bonds and X
other negotiable and non-negotiable
instruments.
16. Accounts Receivab|e. X
17. Alimony, nnlntenance, support and X
property settlements to which the debtor
is or rmy be entitied. Give particulars
1s. other liquidated debts owed to debtor X
including tax refunds. Give particulars.
19. Equitable or future interests, life estates, x

and rights or powers exercisable for the
benefit of the debtor other than those
listed in Schedule of Real Property.

20. Contingent and non-contingent interests X
in estate of a decedent, death benefit
plan, life insurance poilcy, or trust.

21. Other contingent and unliquidated claims X
of every nature, including tax refunds,
counterclaims of the debtor, and rights to
setoff claims. Give estimated value of
each.

22. Patents, copyrights, and other intellectual X
property. Give particulars.

23. Licenses, franchises, and other general X
intangibles. Give particulars

24. Customer lists or other compilations X
containing personally identifiable
information (as described in 11 U.S.C.
101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
prinarily for personai, famiiy, or
household purposes.

25. Automobiies, irucks, trailers and other 1999 NISSAN SENTRA J $ 950 . 00
vehicles and accessories. . ,
Loca t.i.on: In debtor ' s possesslon

2010 NISSAN SENTRA J $ 12,000.00
Location: In debtor's possession

 

 

 

 

 

 

 

Page 2 of 3

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BsB (officiai Form sai (12/07)

~|n re RoYAL A. HURLBERT III and ADRIENNE A. HURLBERT Case No.
Debtor(s) (if known)

SCHEDULE B-PERSONAL PROPERTY

 

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

Current
T e of Pro e N Descri tion and Location of Pro e Va'"e
yp p ny p p ny of Debtor's interest,
0 Husband__H in Property Without
n Wife__w Deducting any
Joint__J Secured Cl_aim or
9 Community--C Exempt'°"
26. Boats, motors, and accessories. X
27. Aircraft and accessories. X
28. Office equipment, furnishings, and X
supplies.
29. Machinery, fixtures, equipment and X
supplies used in business.
30. |nventory. X
31. Anirmis. X
32. Crops - growing or harvested. X
Give particulars.
33. Farming equipment and implements X
34. Farm supplies, chenicals, and feed. X
35. Other personal property of any kind not X
already |isted. |temize.
Page 3_ of L Total + $ 13, 720. 00

 

 

 

(Report total also on Summary of Schedules.)
include amounts from any continuation sheets attached.

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sec (ofrieiai Form sc) (04/10)

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ln re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT CaSe NO.
Dethf(S) (if known)

SCHEDULE C-PROPERTY CLA|MED AS EXEMPT

 

Debtor claims the exemptions to which debtor is entitled under: lj Check if debtor claims a homestead exemption that exceeds $146,450.*
(Check one box)

[] 11 U S.C § 522(b) (2)
E 11 U S C §522(b)(3)

 

 

 

 

 

 

Specify Law Va|ue of Current
Description of Property Providing each Ciaimed Va|ue of Property
Exemption Exemption Without Deducting
Exemptions
HOMESTE’AD- 3129 OVERHILL DR. Fl. Const.Art. 10 §4(a) (1), FSA $ 95,000.00 $ 95,000.00
JACKSONVILLE, FL 32277 §§222.01, 222.02, 222.05
COUCH, LOVE SEAT, TABLE, TABLE Fl Const. Art. 10 §4 (a) (2), FSA $ 400.00 $ 400.00
W/4 CHAIRS, HUTCH, 2 BE'DS, 3 §222.061
CHESTS, 2 DRESSERS, MICROWAVE
AND SMALL TABLE
CLOTHING Fl Const. Art. 10 §4 (a) (2), FSA $ 250.00 $ 250.00
§222.061
JEWELRY Fl Const. Art. 10 §4 (a) (2), FSA $ 120.00 $ 120.00
§222.061
1999 NISSAN SENTRA Fl. Stat. Ann. §222.25(1) $ 950.00 $ 950.00
2010 NISSAN SENTRA Fl. Stat. Ann. §222.25(1) $ 0.00 $ 12,000.00
Subtotal: 96 720.00 $ 108 720.00
Page No. l of l $ l l
T<>tal »' $96, 720. 00 $108, 720. 00

 

 

 

 

* Amount subject to adjustment on 4/1/13, and every three years thereaiter with respect to cases commenced on or after the date of adjustment

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` eeo (orrrciai Form sol iiziorj

jn reRoYAL A. HURLBERT III and ADRIENNE A. HURLBERT Case No_
Debtor(s)

SCHEDULE D - CRED|TORS HOLD|NG SECURED CLA|MS

(if known)

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments statutory liens, mortgages deeds of trust,
and other security interests

List creditors in alphabetical order to the extent practicable if a minor child is the creditor, state the child's initials and the
name and address of the chi|d's parent or guardian, such as "A.B., a minor chi|d, by John Doe, guardian " Do not disclose the
child's name See, 11 U.SC §112 and Fed. R. Bankr P 1007(m). lf all secured creditors Wil| not fit on this page, use the
continuation sheet provided

if any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. if a joint petition is
tiled, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H" “,’W
“,"J or “C" in the column labeled “Husband, Wife, Joint, or Community."

if the claim is contingent place an “X” in the column labeled “Contingent" if the claim is unliquidated, place an “X” in the
column labeled "Unliquidated ” if the claim is disputed, place an “X” in the column labeled “Disputed ” (You may need to place an
“X” in more than one of these three columns.)

Total the columns labeled “Amount of Ciaim Without Deducting Va|ue of Co||ateral" and “Unsecured Portion, if Any” in
the boxes labeled “Tota|(s)" on the last sheet of the completed schedule. Report the total from the column labeled “Amount of
Ciaim Without Deducting Va|ue of Col|atera|" also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any" ori the Statisticai Summary of Certain

|] Check this box if debtor has no creditors holding secured claims to report on this Schedule D

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Credit°r's Name and Date Ciaim was |ncurred, Nature Amount of Ciaim Unsecured
Mai|ing AddreSS of Lien, and Description and Market -¢, Without Poition, if Any
'"°'"di"g zip C°de and " Vai e of Pro e S b'ect to Lien E 3 '
Account Number § u p ny u l g § g Deducting Va|ue
(See lnstructions Above ) g H--Husband -_5_, § °:'s' °f C°"ate'a'
r ' c = °-
o W"W'fe o c .‘£
0 J--Joint 0 :> D
c_-c- '*,
AccountNo 500333}{){)(){ J $ 40,293.00 $ 40,293.00
Credi tor # : 1 Second Mortgage
CITI MORTGAGE
Po Box 9433 HOMESTEAD
Gaithersburg MD 20898
Va|ue $ 95, 000 . 00
AccountNo 1024)(}()(){)(}( J $ 16, 835. 00 $ 4,835.00
Credi tor # : 2 Auto Loan
NISSAN MOTOR ACCEPTANCE
8900 FREEPORT PKWY
Irving TX 75063
Va|ue $ 12, 000. 00
AccountNo 703025394XXXX J $ 121,000.00 $ 261 000-00
Credi tor # : 3 Mortgage
WELLS FARGO BANK, N.A.
PO BOX 10335
Des Moines IA 50306
Value, $ 95, 000 . 00
No continuation sheets attached subr°ta| $ $ 179, 129, 00 $ 71 , 128, 00
(Totai of this page)
Total$ s 178,123.00 s 71,123.00
(Use only on last page)
mm
Schedules ) Statisticai Summary of

Certain Liabiiities and
Related Data)

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jn re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT Case No_
Debtor(s) (if known)

SCHEDULE E - CRED|TORS HOLD|NG UNSECURED PR|OR|TY CLA|MS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided Only holders of
unsecured claims entitled to priority should be listed in this schedule. in the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of ali entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition Use a separate continuation sheet for each type of priority and label each with the type of priority

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so if a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name See, 11 U.S C. §112 and Fed. R. Bankr. P. 1007(m).

if any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors if a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an H" "W" "J", or "C" in the column labeled "Husband, Wife, Joint, or Community" if
the claim is contingent, place an "X" in the column labeled "Contingent." if the claim is unliquidated, place an "X" in the column labeled "Unliquidated," if
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this ScheduleE
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet Report the total of ali amounts
entitled to priority listed on this Schedule E in the box labeled "Totals” on the last sheet of the completed schedule. individual debtors with primarily
consumer debts report this total also on the Statisticai Summary of Certain Liabilities and Related Data,

Report the total of amounts NOT entith to priority listed on each sheet in the box labeled "Subtotals" on each sheet Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule individual debtors with
primaniy ccmsumer debts report this total also on the Statisticai Summary of Certain Liabilities and Related Data.

Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E
TYPES OF PR|OR|TY CLA|MS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

[I Domestic Support Obligations
Ciaims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
provided in 11 U.S C § 507(a)(1).

\:l Extensions of credit in an involuntary case
Ciaims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the eariier of
the appointment of a trustee or the order for relief. 11 U.S.C § 507(a)(3).

|:] Wages, salaries, and commissions
Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
petition, or the cessation of business. whichever occurred first, to the extent provided in 11 U S C. § 507(a)(4)

|:] Contributions to employee benefit plans
l\/ioney owed to employee benth plans for sen/ices rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred Hrst, to the extent provided in 11 U.S.C. § 507(a)(5).

[] Certain farmers and fishermen
Ciaims of certain farmers and Hshermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S C. § 507(a)(6).

i:i Deposits by individuals
Ciaims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personai, famiiy, or household
use, that were not delivered or provided 11 U S.C. § 507(a)(7)

Taxes and Certain Other Debts Owed to Governmental Units
Taxes, customs duties, and penalties owing to federai, state, and local governmental units as set forth in 11 U.S C. § 507(a)(8).

Commitments to Maintain the Capitai of an insured Depository institution

Ciaims based on commitments to FD|C, RTC, Director of the Office of Thrift Supen/ision, Comptroiler of the Currency, or Board of Govemors of
the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. §
507(a)(9).

[:j Ciaims for Death or Persona| injury While Debtor Was intoxicated
Ciaims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
alcohoi, a drug, or another substance. 11 U.S.C. § 507(a)(10)

* Amounts are subject to adjustment on 4/01/13, and every three years thereafter With respect to cases commenced on or after the date of adjustment

No continuation sheets attached

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Bsi= (officiai Form st (12/01)

|n re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT
Debtor(s) (if known)

SCHEDULE F - CRED|TORS HOLD|NG UNSECURED NONPR|OR|TY CLA|MS

, Case No.

 

State the name, mailing address, including zip code, and last four digits of any account number, of ali entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. if a minor child is a
creditor, state the chiid's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the chiid's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m) Do not include claims listed in Schedules D and E if ali
creditors will not fit on this page, use the continuation sheet provided.

lf any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. if a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W" "J" or "C" in the column labeled "Husband, Wife, Joint, or
Community"

lf the claim is contingent, place an "X" in the column labeled “Contingent" if the claim is unliquidated, place an "X" iri the column labeled

"Unliquidated." if the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
coiumns)

Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules Report this total also on

[:| Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Creditor's Name, Mailing Address Date Ciaim was lncurred, Amount Of Claim
including Zip Code, .5 and 0onsideration for Ciaim. z §
5 if Ciaim is Subject to Setoff, so State. q, g .c
And Account Number g §’ -5 3
. . 6 H--Husband .5 c_ g
(See instructions above.) o w__Wife g § g
J--Joint 0 3 n
c-.r~. ‘ ,
Account No 6130XXXX J $ 392 . 00
Credi tor # : 1 Collection
AMERICA.N RECOVERY SYSTEMS BAILEYS POWERHOUSE GYM
3577 CARDINAL POINT DR
Jacksonville FL 32257
AccountNo 4695XXXXXX J $ 637.00
Credi tor # : 2 Charge Off
BARCLAYS BANK DELAWARE
PO BOX 8803
Wilmington DE 19899-8803
Accounir\io 517axxxxx J $ 9, 421 . 00
Credi tor # : 3 Charge Off
CAPITAL ONE
PO BOX 30281
Salt Lake City UT 84130
Account No 4266XXXXXX J $ 6, 250. 00
Credi tor # : 4 Deficiency Balance
CHASE BANK USA
PO BOX 15298
Wilmington DE 19850
5 continuation sheets attached subtotal s $ 1 6, 700. 00
Total $
(Use only on last page of the completed Schedule F Report also on Summary of
Schedules and, if applicablel on the Statisticai Summary of Certain Liabilities and Related

 

 

 

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B6F (Official Form GF) (12/07) - Cont.

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In re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT

 

Debtor(s)

Case No.

(if known)

SCHEDULE F - CRED|TORS HOLD|NG UNSECURED NONPR|OR|TY CLA|MS

(Continuation Sheet)

 

Creditor's Name, Mailing Add
including Zip Code,

And Account Number

(See instructions above.)

feSS

 

Date Ciaim was |ncurred,
and Consideration for C|aim.
if Ciaim is Subject to Setoff, so State.

 

Co-Debtor

W--Wife
J--Joint

H--Husband

C--Community

 

Uniiquidated

Contingent
Disputed

Amount of Ciaim

 

Account No 1 82 0XXXXXXX

J

 

Creditor # : 5
CHASE/CIRCUIT CITY
PO BOX 15298
Wi]_mington DE 19850

Deficiency Balance

$ 2,580. 00

 

Account No 6 8 79XXXXX

 

Creditor # : 6

DELL COMPUTER/WE'B BANK
PO BOX 81577

Austin TX 78708

Charge Off

$ 3,822. 00

 

Account NO 535 5XXXXXXX

 

Creditor # : 7

E'NHANCE'D RECOVERY CO LLC
8014 BAYBERRY RD
Jacksonville FL 32256

Defi ci ency Balance
AT&T

$ 122.00

 

Account No 6 00889)(){)(){)(

 

Creditor # : 8
GE/JCPENNEY

PO BOX 965007
Orlando FL 32896

Charge Off

$ 1,608.00

 

Account No 604 5XXXXX

 

Creditor # : 9
GEcRB/ch

PO BOX 965018
Orlando FL 32896

Charge Off

$ 1,539.00

 

Account No 6044071XXXXX

 

Creditor # : 10
GECRBPAYPAL

PO BOX 981064

El Paso TX 79998

 

 

 

 

Charge Off

 

$ 454.00

 

Sheet No 1 of
Creditors Hoiding Unsecured Nonpriority

 

Ciaims

5 continuation sheets attached to Schedule of

 

 

Subtotai $
Total $

(Use only on last page of the completed Schedule F Report also on Summary of
Schedules and, if applicable on the Statisticai Summary of Certain Liabilities and Related

$ 10,125.00

 

 

 

 

Case 3:11-bi<-09185-.]AF Doc 1 Fiied 12/22/11 Page 20 of 51

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ln re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT

 

Debto r(s)

Case No.

(if known)

SCHEDULE F - CRED|TORS HOLD|NG UNSECURED NONPR|OR|TY CLA|MS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Creditor's Name, Mailing Address Date Ciaim was |ncurred, Amount of Ciaim
including Zip code’ 5 and C.onsideration for C|aim. z §
5 if Ciaim is Subject to Setoff, so State. q, _g t
And Account Number 3 §’ '5 2
' _ 6 H--Husband '*T' .E` a
(See/nstructionsabove.) o w__wife g E l,
J--Joint 0 3 a
C--Community
AccountNo 6044XXXXX J $ 710.00
Creditor # : 11 Charge Off
GEMB
PO BOX 965005
Orlando FL 32896
Account No 604 4XXXXX
Representing: PoRTFoLIo RECOVERY AssocIAIEs
GEMB 120 coRPoRATE BLVD #100
Norfolk VA 23502
Account NO 6044XXXXX
Representing_. sEcoND ROUND
GEMB 1330 WONDE'R WORLD DR #104
San Marcos TX 78666
Account NO 5155XXXXXX J $ 2, 631 . 00
Creditor # : 12 Charge off
HSBC BANK
PO BOX 5253
Carol Stream IL 60197
Account No 5458XXXXXXX J $ 4, 403. 00
Creditor # : 13 Charge Off
HSBC BANK
PO BOX 5253
Carol Stream IL 60197
Account No 4663XXXXX J $ 2, 869. 00
Creditor # : 14 Charge Off
HSBC BANK
PO BOX 5253
Carol Stream IL 60197
Sheet No. 2 of 5 continuation sheets attached to Schedule of subt°za|$ $ 10, 613_ 00
Creditors Hoiding Unsecured Nonpriority Ciaims Total 3

 

(Use only on last page of the completed Schedule F Report also on Summary of

 

Schedules and, if applicable, on the Statisticai Summary of Certain Liabilities and Related

 

 

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B€F (Official Form 6F) (12/07) - Cont.

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|n re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT
Debtor(s)

, Case No.

(if known)

SCHEDULE F - CRED|TORS HOLD|NG UNSECURED NONPR|OR|TY CLA|MS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

creditors Name, Maiiing Address Date Ciaim was lncurred, Amount °f Ciaim
including Zip Code, 5 and C'onsideration for C|aim. _E §
3 |f Ciaim is Subject to Setoff, so State. q, g -°
And Account Number g F=” '5 3
_ _ 6 H-~Husband '5 _g a
(See instructions above.) o W__wife g E g
J--Joint 0 3 0
C--Community
Account No 4 6 63XXXXX
:::T§:;;:;R:s°;:€;ii:zcm
HSBC BANK Norfolk vA 23502
Account No 5896`24389 J $ 0. 00
Credi tor # : 15 Taxes
I . R . S .
Atlanta GA 39901
Account No 4120XXXXX J $ 1 , 852 . 00
Credi tor # : 16 Charge Off
ME'RRI(H( BANK
10705 S JORDAN GTWY #200
South Jordan UT 84095
AccountNo 8539XXXXX J $ 6, 431.00
Credi tor # : 1 7 Collection
MIDLAND cREDIT MANAGEMENT cHASE BANK USA NA
88 75 AERO DR
San Diego CA 92123
Account No 8539XXXXX
MID D CREDIT AG NT North Mia.mi Beac FL 33160
AccountNo 8538XXXXX J $ 3,207. 00
Credi tor # : 18 Collection
MIDLAND CREDIT MANAGEMENT cHASE BANK USA NA
88 75 AERO DR
San Diego CA 92123
Sheet No. 3 of 5 continuation sheets attached to Schedule of Subt°ta| s $ 11 l 4 90 _ 00
Creditors Hoiding Unsecured Nonpriority Ciaims Total 5

 

 

 

 

(Use only on last page of the completed Schedule F Report also on Summary of

 

Schedules and, if applicabie, on the Statisticai Summary of Certain Liabilities and Related

 

 

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BsF (officiai Form st (12/07) - cont.

|n re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT
Debtor(s)

. Case No.

 

(if known)

SCHEDULE F - CRED|TORS HOLD|NG UNSECURED NONPR|OR|TY CLA|MS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Creditor's Name, Mailing Address Date Ciaim was lncurred, Amount of Ciaim
including zip Code, .°_ and 0onsideration for C|aim. a §
5 if Ciaim is Subject to Setoff, so State. § g -c
And Account Number 3 §’ '5 2
. . 5 H--Husband -;, °. :°;_
(See instructions above.) o N__wife § i-§ _g
.i--Joint 0 3 0
C~-Community
AccountNo 53114299 & 53114300 J $ 296. 00
Creditor # : 19 Medical Bills
NCO FINANCIAL UNIV OF FLORIDA
PO BOX 13570
Philadelphia PA 19101
AccountNo 53114301 & 53114302 J $ 374. 00
Credi tor # : 20 Medical Bills
NCO FINANCIAL UNIV OF FLORIDA
PO BOX 13570
Philadelphia PA 19101
Account No 162011$C004972 J $ 1 , 668. 77
Credi tor # : 21 Deficiency Balance
POLLACK & ROSEN/ P~A- cAPITAL oNE BANK (ADRIENNE)
800 DoUGLAs RD N. T. #450
Miami FL 33134
Account No 2578XXXXX J $ 3, 988. 00
Credi tor # : 22 Collection
SS T/CIGPFl CORP
800 BROOKSEDGE BLVD.
Wilmington DE 19801
Account No 4036)(XXX J $ 2, 674 . 00
Credi tor # : 23 Charge Off
ssT/coLUMBUs BAM< & TRUsT
4315 PICKE'TT RD
Saint Joseph MO 64503
AccountNo 6380XXXX J $ 540. 00
Credi tor # : 24 Credit Card Purchases
TARGET NATIONAL BANK
PO BOX 673
Minneapolis MN 55440
Sheet No. 4 of 5 continuation sheets attached to Schedule of subt°ta| $ $ 9, 540_ 77
Creditors Hoiding Unsecured Nonpriority Ciaims Total $
(Use only on last page of the completed Schedule F Report also on Summary of
Schedules and, it applicable, on the Statisticai Summary of Certain Liabilities and Related

 

 

 

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BsF (ofriciai Form eFj (12/07) - cont.

|n re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT
Debtor(s) (if known)

SCHEDULE F - CRED|TORS HOLD|NG UNSECURED NONPR|OR|TY CLA|MS

, Case No.

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Creditor's Name, Mailing Address Date Ciaim was lncurred, Amount of Ciaim
. . . ._ and Consideration for C|aim. 'u
including Zip Code, o _ ' _ E- 3
§ |f Ciaim is Subject to Setoff, so State. q, g .°
And Account Number g §’ '5 8
_ _ 6 H--Husband "_" .E' a
(See instructions above.) o W__Wife § E _¢2
J--Joint 0 :> D
C-~Community
AccountNo 162011CC012068 J $ 6,207. 75
Credi tor # : 25 Defi ciency Balance
ZAKHE'IM & LAVRAR/ P - A- cAPITAL oNE BANK (coMPLAINT)
1045 s UNIVERsITY DR #202
Fort Lauderdale FL 33324
Account No
Account No
Account No
Account No
Account No
Sheet No 5 of 5 continuation sheets attached to Schedule of Subtotaj 5 $ 61 207 _ 7 5
Creditors Hoiding Unsecured Nonpriority Ciaims Total 5
(Use only on last page of the completed Schedule F Report also on Summary of $ 64 , 676 . 52
Schedules and, if applicable on the Statisticai Summary of Certain Liabilities and Related

 

 

 

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sss (officiai Form scj (12/01)

|n re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT /Debtor CBS€ NO.

 

(if known)

SCHEDULE G-EXECUTORY CONTRACTS AND UNEXP|RED LEASES

Describe ali executory contracts of any nature and ali unexpired leases of real or personal property, include any timeshare interests State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc State whether debtor is the lessor or lessee of a lease Provide the names and complete mailing
addresses of all other parties to each lease or contract described if a minor child is a party to one of the leases or contracts, state the chiid's initials and the
name and address of the chi|d's parent or guardian, such as "A.B., a minor child, by John Doe, guardian " Do not disclose the child's name. See,

11 U.S.C. §112 and Fed. R Bankr P 1007(m).

|Z| Check this box if the debtor has no executory contracts or unexpired ieases.

 

Name and Mailing Address, Description of Contract or Lease and
including Zip Code, of Nature of Debtor's lnterest.
Other Parties to Lease State whether Lease is for Nonresidentiai Real Property.
or Contract. State Contract Number of any Government Contract.

 

 

 

 

Page l of l

 

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Baii ioniciai Form eiij (12/01j

s

` ln re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT /Debtor Case NO.

(if known)

SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors include all guarantors and co-signers if the debtor resides or resided in a community property state,
commonwealth, or territory (including Aiaska, Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. if a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian " Do not
disclose the child's name See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m)

E Check this box if the debtor has no codebtors.

 

Name and Address of Codebtor Name and Address of Creditor

 

 

 

 

 

Page l of l

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BS| (Official Form 6|) (12/07)

ln re RoYAL A. HURLBERT III and ADRIENNE A. HURLBERT Case No_
Debtor(s) (if known)

SCHEDULE i - CURRENT |NCOME OF lND|V|DUAL DEBTOR(S)

 

The column labeled “Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed Do not state the name of any minor child The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 220.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor's Maritai DEPENDENTS OF DEBTOR AND SPOUSE
Status: RELATioNsHiP(s). AGE(S)-
Married Daughter 15
EMPLOYMENT: DEBTOR SPOUSE
OCCU patton CORRECTIONAL OFFIGL'R CUSTOMER SERVICI' REP .
Name of Employer CITY OF JAX SAFEWAY
How Long Employed 14 YEARS
Address of Employer Jacksonville FL 32201
|NCOME (Estimate of average or projected monthly income at time case filed) DEBTOR SPOUSE
1 Month|y gross wages, saiary, and commissions (Prorate if not paid monthly) $ 4 , 01 0 . 00 $ 2, 400 . 00
2 Estimate monthly overtime $ 0 . 00 $ 0 . 00
3 susioiAL L$ 4,010.00 $ 2,400. 00
4 LESS PAYROLL DEDUCT|ONS
a Payro|l taxes and social security $ 605 . 00 $ 150 . 00
b insurance $ 605. 00 $ 150. 00
c Union dues $ 0 . 00 $ 0 . 00
d Other (Specify) $ 0. 00 $ 0. 00
5 SUBTOTAL OF PAYROLL DEDUCT|ONS $ 1 , 21 0 . 00 $ 300 . 00
6 TOTAL NET MONTHLY TAKE HOME PAY $ 2, 800. 00 $ 2, 100. 00
7 Regular income from operation of business or profession or farm (attach detailed statement) $ 0 00 $ 0 . 00
8 income from real property $ 0 . 00 $ 0 . 00
9 interest and dividends $ 0 00 $ 0 . 00
10 Alimony, maintenance or support payments payable to the debtor for the debtor's use or that $ 0 00 $ 0 . 00
of dependents listed above
1 1 Sociai security or government assistance
(Specify) $ 0 . 00 $ 0 . 00
12 Pension or retirement income $ 0 . 00 $ 0 . 00
13 Other monthly income
(Specify) $ 0. 00 $ 0. 00
14 SUBTOTAL OF LiNES 7 THROUGH 13 $ 0 . 00 $ 0 . 00
15 AvERAGE ivioNTi-ii_v iNcoiviE (Add amounts shown on lines 6 and 14) $ 2 , 900» 00 $ 2, 1 00. 00

16 COMB|NED AVERAGE MONTHLY |NCOME (Comblne CO|Umn iota|$ $ 4, 900 . 00

 

 

from line 15, if there is only one debtor repeat total reported on line 15) (Report also on Summary Ol Schedules and if applicable on

Statisticai Summary of Certain Liabilities and Related Data)

 

17 Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document

 

 

Page No. l of l

 

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Bs.i(ofriciai Form 6.1)(12/07)
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in

re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT Case No.
Debtor(s)

 

(if known)

SCHEDULE J-CURRENT EXPEND|TURES OF lND|V|DUAL DEBTOR

Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family Prorate any payments
made bi-weekly, quarteriy, semi-annualiy, or annually to show monthly rate The average monthly expenses calculated on this form may differ from
the deductions from income allowed on Form 22 A or 22C

I:] Check this box if a joint petition is filed and debtor's spouse maintains a separate household Complete a separate schedule of expenditures labeled

 

 

 

“Spouse"
1Renf°fh°memortgagel>aym€nf(includei°fremedf°rm°b"eh°me)......................................,.................................... .$ ................. ‘.1./..~?§-.?..99
a Are real estatetaxesinciuded'> Yes No i:\
b ls propertyinsuranceinciuded'? Yes g No l:j
2 leltles a Eieefn¢lfyendheatingfuel L$. .................... .4..2.(?...0.?.
b Water and sewer $ 0.00
° Te'eph°“e . .................................................................................................................... $ ..................... 2 .0.0...0.0.
d Other Cable $ 255_ 00
Other ........................................................................................................................... .$ ........................ 0.-..0..0…
3 Homemaintenanee(repaireandupkeep) .$ ...................... 5.?...0..0.
4 Food $ 700.00
5 ewith ....................................................................................................................................... .$ ..................... .1.5.(?.-.?.<?.
6 Laundry and drycieaning $ 75.00
7 Medical and dental expenses ................................................................................................................ $ ....................... 5 .Q.-.?.Q.
8 Transportation(notincluding car payments) $ 500. 00
9 Recreation. clubs and entertainment newspapers magazines etc ............................................................................ $ 150 .QQ
10 Charitabie contributions $ 100.00
11 insurance (not deducted from wages or included in home mortgage payments)
a Homeowner's errenters ............................................................................................................. $. ........................ Q.-.QQ
b Life $ 0.00
c Health .$ ........................ Q:.Q.o.
d Auto $ 271 00
e Other $. ........................ Q=.Q.Q
other $ 0.00
12 Taxes (not deducted from wages or included in home mortgage)
(Specify) $ 0.00
13 installment payments (inchapter11,12, and 13 cases, do not list payments to be included inthe pian)
a Auto .$. .................... .3.?.‘.1.-..9.-?1
b Other $ 0.00
C Other § ........................ Q.»..Q.o.
14 Al'm<>ny, maintenance and Supp°n Pa'd 10 Othef$ ........................................................................................... $ ........................ .Q.-.?.Q.
15 Payments forsupport of additional dependents notiivingatyour home $ 0.00
16 Regulare><i>enses from OPeraf'°n Of business profession Orfa"n ie“e¢h detailed Steiement> ............................................... $ ........................ 9 :.Q.Q.
17 Other Mics $ 250 00
Other ...................................................................................................................................... .$ ......................... Q .».QQ.
0.00
18 AVERAGE MONTHLY EXPENSES Total lines 1-17 Report also on Summary of Schedules $ 4,908 92
and, if applicabie, on the Statisticai Summary of Certain Liabilities and Related Data)
19 Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document
20 STATEMENT OF MONTHLY NET |NCOME
a Average monthiyincomefrom Line 16 ofSchedu|ei $ 4,.900.00
b Average monthlyexpenses from Line18 above $ 4 ,908.92
c Month|y netincome(a minusb) $ (8.92)

 

 

 

 

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BS Dec|aration (OfEciai Form 6 - Dec|aration) (12/07)

` |n re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT Case NO.
Dethi` (if known)

DECLARATION CONCERN|NG DEBTOR'S SCHEDULES

DECLARAT|ON UNDER PENALTY OF PERJURY BY AN lND|V|DUAL DEBTOR

l declare under penalty of perjury that l have read the foregoing summary and schedules, consisting of 18 sheets, and that they are true and

 

correct to the best of my knowledge information and belief

Date: 12/21/2011 SignatureQ/HMM

ROYAL A. HURLBERT III

Date_ 12/21/2011 Signature \/,MFMM M

ADRIENNE A . HURLBERT

[if joint case, both spouses must sign ]

Penalty for making a false statement or concealing property Fine of up to $500,000 or imprisonment for up to 5 years or both 18 U.S.C §§ 152 and 3571

 

CERT|F|CAT|ON AND SlGNATURE OF NON-ATTORNEY BANKRUPTCY PET|T|ON PREPARER (See 11 u.s C § 110)

l certify that l am a bankruptcy preparer as defined in 11 UiS C. § 110, that l prepared this document for compensation, and that l have provided the debtor
with a copy of this document

Preparer BOB PALMER Socia| security No.. 267_34_0010
848 CASSAT AVE.

Jacksonville FL 32205

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document

None

if more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person

x ome 12/21/2011
Bo PALMER

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U S C §110, 18 U.S C. §1564

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.

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Form 7 (04/10)

UN|TED STATES BANKRUPTCY COURT
MlDDLE DlSTRlCT OF FLOR|DA
NORTHERN DlVlSlON

in re:RoYAL A. HURLBERT III Case No.
and
ADRIENNE A. HURLBERT
aka ADRIENNE AMMONS

STATEMENT OF FlNANClAL AFFA|RS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined if the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed unless the spouses are separated and a joint petition is not filed An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individuai‘s personal affairs To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A B., a minor child, by John Doe, guardian " Do not diciose the child's name See, 11
U.S C. § 112 and Fed. R Bankr P 1007(m).

Questions 1-18 are to be completed by all debtors Debtors that are or have been iri busiiess, as defined beiow, also must complete
Questions 19-25. |f the answer to an applicable question is "None." mark the box labeled "None." if additional space is needed for the answer to
any question, use and attachaseparate sheet property identified with the case name, case number (if known), and the number of the question

DEF/N/T/ONS

"ln business " A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment

"lnsider." The term "insider" includes but is not limited to relatives of the debtor, general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting
or equity securities of a corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the
debtor. 11 U.S.C. §101.

 

1. income from employment or operation of business

None State the gross amount of income the debtor has received from employment, tradel or profession, or from operation of the debtor's business, including

|:| part-time activities either as an employee or in independent trade or business, from the beginning ofthis caiendaryeartothe date this case was
commenced State also the gross amounts received during the two years immediately preceding this calendaryear (A debtor that maintains, or has
maintained financial records on the basis of a Hscal rather than a calendar year may report fiscal year income identify the beginning and ending dates of
the debtor's nscai year) lfajoint petition is hied, state income for each spouse separately (Married debtors filing under chapter 12 or chapter 13 must
stateincome of both spouses whether or note joint petition is diedl unless the spouses are separated and a joint petition is not filed)

AMOUNT SOURCE

Year to date:$48,120.00 EMPLOYMENT
Last Year:$
Year before:$

 

Year to date:$33,600. 00 SPGUSE EMPLGYMENT
Last Year:$
Year before:$

 

2. income other than from employment or operation of business

None State the amount of income received by the debtor other than from empioyment, trade, profession, operation of the debtor's business during the two years
g immediately preceding the commencement of this case Give particulars if a joint petition is filed state income for each spouse separately (Married
debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is Hled, unless the spouses are separated and

Statement of Affairs - Page1

Case 3:11-bi<-09185-.]AF Doc 1 Fiied 12/22/11 Page 30 of 51

Form 7 (04/10)

s

a joint petition is not filed )

 

None

3. Payments to creditors
Complete a or b , as appropriate, and c.

a individual or joint debtor(s) with primarily consumer debts List ali payments on loans, installment purchases of goods or services, and other debts to any
creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
affected by such transfer is less than $600 indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
obligation or as part of an alternative repayment schedule under a plan by an approved nonpront budgeting and creditor counseling agency (Married debtors
ming under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filedl unless the spouses are
separated anda joint petition is not filed)

 

None

b Debtor whose debts are not primarily consumer debts List each payment or other transfer to any creditor made within 90 days immediately preceding the
commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $5,850* if the debtor is
an individuai, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency (Married debtors filingunder chapter 12 or chapter 13
must include payments and other transfers by either or both spouses whether or not a joint petition is filed unless the spouses are separated and a joint
petition is not filed )

* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced oh or after the date of adjustment

 

None

c All debtors List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
were insiders (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is hied,
unless the spouses are separated and a joint petition is not filed )

 

None

i:i

4. Suits and administrative proceedings, executions, garnishments and attachments

a List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case
(Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed unless
the spouses are separated and a joint petition is not filed )

CAPT|ON OF SU|T COURT OR AGENCY
AND CASE NU|V|BER NATURE OF PROCEED|NG AND LOCAT|ON STATUS OR D|SPOSlT|ON
MIDLAND FUNDING LLC CIVIL COMPLAINT COUNTY COURT DUVAL PENDING

VS

COUNTY, FLORIDA

ROYAL HURLBERT

16-2011-CC-012445

 

DIV. L

CAPITAL ONE BANK CIVIL COMPLAINT COUNTY COURT DUVAL PENDING
(USA) N.A. COUNTY, FLORIDA

VS

ADRIENNE A HURLBERT

16-2011-$€-004972
DIV. CC-B

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Form 7 (04/10)

CAPT|ON OF SUiT COURT OR AGENCY
» AND CASE NUMBER NATURE OF PROCEED|NG AND LOCAT|ON STATUS OR D|SPOS|T|ON
CAPITAL ONE BANK CIVIL COMPLAINT COUNTY COURT DUVAL PENDING
(USA) NA COUNTY, FLORIDA
vs

ROYAL A HURLBERT

16-2011-CC-012068

DIV.

H

 

None

Zi

b. Describe all property that has been attached garnished or seized under any legal or equitable process within one year immediately preceding the
commencement of this case (Married debtors Hiing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
whether or nota joint petition is filed unless the spouses are separated anda joint petition is not filed)

 

None

5. Repossessions, foreclosures and returns

List all property that has been repossessed by a creditor, sold at a foreclosure saie, transferred through a deed in lieu of foreclosure or returned to the seiler,
within one year immediately preceding the commencement of this case (Married debtors filing under chapter 12 or chapter 13 must include information
concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not died )

 

None

6. Assignments and receiverships

a Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case (Married
debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed unless the
spouses are separated and a joint petition is not died )

 

None

b List all property which has been iri the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
commencement of this case (Married debtors hling under chapter 12 or chapter 13 must include information concerning property of either or both spouses
whether or not ajoint petition is filed unless the spouses are separated and ajoint petition is not filed )

 

None

7. Gifts

List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient
(Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is died
unless the spouses are separated and a joint petition is not filed )

 

None

8. Losses

List all losses from Hre, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
commencement of this case (Married debtors hling under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
petition is filed unless the spouses are separated and a joint petition is not died )

Statement of Affairs - Page 3

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Form 7 (04/10)

\

 

9. Payments related to debt counseling or bankruptcy
None List all payments made or property transferred by or on behalf of the debtor to any persons including attorneys for consultation concerning debt

[] consolidation relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
this case
DATE OF PAYl\/lENT, AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE NAME OF PAYER lF OTHER THAN DEBTOR DESCR|PT|ON AND VALUE OF PROPERTY
Payee: BOB PALME'R Date of Payment: $450.00
Address.' Payor.‘ ROYAL HURLBERT

848 CASSAT AVE.
Jacksonville, FL 32205

 

10. Other transfers
None a List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
g or as security within two years immediately preceding the commencement of this case (Married debtors filing under chapter 12 or chapter 13 must include
transfers by either or both spouses whether or not a joint petition is filed unless the spouses are separated and a joint petition is not filed )

 

None b List ali property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
gi of which the debtor is a benificiary

 

11. Ciosed financial accounts
None List ali financial accounts and instruments held in the name of the debtor or for the benth of the debtor which were closed sold or otherwise transferred
g within one year immediately preceding the commencement of this case include checking, savings or other financial accounts certihcates of deposit, or
other instruments shares and share accounts held in banks credit unions pension funds cooperatives associations brokerage houses and other financial
institutions (Married debtors hiing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
spouses whether or not a joint petition is filed unless the spouses are separated and a joint petition is not filed )

 

12. Safe deposit boxes
None List each safe deposit or other box or depository in which the debtor has or had securities cash, or other valuables within one year immediately preceding
X| the commencement of this case (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
or not a joint petition is filed unless the spouses are separated and a joint petition is not filed )

 

13, Setoffs
None List ali setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case
§ (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed unless

the spouses are separated and a joint petition is not hied )

Statement of Affairs - Page4

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Form 7 (04/10)

 

None

14. Property held for another person

Listal| property owned by another person that the debtor holds or controls

 

None

15. Prior address of debtor

lf the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
period and vacated prior to the commencement of this case if a joint petition is filed report also any separate address of either spouse.

 

None

16. Spouses and Former Spouses

lf the debtor resides or resided in a community property stats commonwealth, or territory (including Aiaskal Arizona, California, idaho, Louisiana, Nevada,
New Mexico, Puerto Ricol Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state

 

None

17. Environmentai information
For the purpose of this question, the following definitions apply

"Environmental Law“ means any federai, stats or local statute or regulation regulating poiiution, contamination, releases of hazardous or toxic substances
wastes or material into the air, land soil, surface water, groundwater, or other medium, inciuding, but not limited to, statutes or regulations regulating the
cleanup of these substances wastes or matenai

"Site" means any location, facility, or property as defined under any Environmentai Law, whether or not presently or formerly owned or operated by the
debtor,
inciuding, but not limited to disposal sites

"l-lazardous Material" means anything defined as hazardous waste, hazardous substance toxic substance hazardous materiai, pollutant, or contaminant or
similar termunder an Environmentai Law

a List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
under or in violation of an Environmentai Law indicate the governmental unit, the date of the notice, and if known, the Environmentai Law

 

None

b List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Materia| indicate the
governmental unit to which the notice was sent and the date of the notice

 

None

c List all judicial or administrative proceedings including settlements or orders under any Environmentai Law, with respect to which the debtor is or was a
party. indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number

 

None

18. Nature, location and name of business

a if the debtor is an individual, list the names addresses taxpayer-identification numbers nature of the businesses and beginning and ending dates of all
businesses in which the debtor was an officerl director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
self-employed in a trade, profession, or other activity either fuli- or part-time within six years immediately preceding the commencement of this case, or in
which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

if the debtor is a partnership, list the names addresses taxpayer identification numbers nature of the businesses and beginning and ending dates of

ali businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
commencment of this case

Statement of Affairs - Page 5

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Form 7 (04/10)

\

if the debtor is a corporation, list the names addresses taxpayer identification numbers nature of the businesses and beginning and ending dates of
all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
commencment of this case

 

None b identify any business listed in response to subdivision a , above, that is "single asset real estate" as defined in 11 U S C. § 101

Ei

 

[lf completed by an individual or individual and spouse]

l declare under penalty of perjury that l have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that

they are true and correct
Date 12/21/2011 Signature%//M
of Debtor AlAqh‘/LU_… \./
Date 12/21/2011 S'g"a‘“le\

\./

of Joint Debtor
(if any)

Statement of Affairs - Page6

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Form 7 (04/10)

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DECLARAT|ON AND SlGNATURE OF NON-ATTORNEY BANKRUPTCY PET|T|ON PREPARER (See 11 U.S.C. § 110)

l declare under penalty of perjury that' (1) | am a bankruptcy petition preparer as defined in 11 U S.C. § 110, (2) l prepared this document for

compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and
34(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S C § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers | have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
debtor, as required by that section

BOB PALME’R XXX-XX-XXXX

Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Socia|-Security No (Required by 11 U.S.C. § 110.)

lt the bankruptcy petition preparer is not an individual, state the name, title (if any), address and social-secunty number of the officer, principal,, responsible
person, or partner who signs this document

848 CASSAT AVE .

 

 

 

Addres/s,\ / \
x 3§¢»¢& )%Q/t 12/21/2011
Signature of Bankruptcy Petition Preparer Date

Names and Socia|-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is

not an individual

NONE'

lf more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.

Statement of Affairs - Page 7

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B a (ofnciai Form 8) (12/08)

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* UN|TED STATES BANKRUPTCY COURT

MlDDLE DlSTRlCT OF FLOR|DA
NORTHERN DlVlSlON

in re ROYAL A. HURLBERT III and ADRIENNE A. HURLBERT

Case No.
Chapter 7

l Debtor

CHAPTER 7 STATEMENT OF |NTENT|ON

Part A - Debts Secured by property of the estate. (Pait A must be completed for EACH debt which is secured by property of the estate.

Attach additional pages if necessary.)

 

Property No 1

 

 

Creditor's Name :
WELLS FARGO BANK, N.A.

 

Describe Property Securing Debt :
HOMESTEAD

 

Property will be (check one) .
|:| Surrendered g Retained
lf retaining the property, l intend to (check at least one) .
l:] Redeem the property
gi Reaffirm the debt

m Other Exp|ain

 

Property is (check one) .

g Ciaimed as exempt m Not claimed as exempt

(for example, avoid lien using 11 U.S.C § 522 (f)).

 

 

Property No 2

 

 

Creditor's Name :
NISSAN MoToR AccEPTANcE

 

Describe Property Securing Debt :
2010 NISSAN sENIRA

 

Property will be (check one) '
i:| Surrendered g Retained
lt retaining the property, | intend to (check at least one) '
|:| Redeem the property
g Reaffirm the debt

|:i Other. Exp|ain

 

Property is (check one) '

 

§ Ciaimed as exempt l:] Not claimed as exempt

(for examp|e, avoid lien using 11 U.S.C § 522 (f)).

 

 

Page l of

_.3_

 

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B 8 (Official Form 8) (12/08)

 

 

 

Plbperty No. 3
` Creditor's Name : Describe Property Securing Debt :
cITI MORTGAGE HOMESTEAD

 

 

Property will be (check one) '
i:| Surrendered g Retained

lf retaining the property, | intend to (check at least one)
m Redeem the property
E] Reaffirm the debt

Property is (check one) :

§ Ciaimed as exempt \:| Not claimed as exempt

 

|:i Other. Exp|ain (for example, avoid lien using 11 U.S C § 522 (f)).

 

Part B - Persona| property subject to unexpired leases (A|| three columns of Part B must be completed for each unexpired |ease. Attach
additional pages if necessary )

Property No.

 

 

 

 

 

Lessor'S Name: Describe Leased Property: Lease will be assumed
N pursuant to 11 U.S.C §
one 365(P)(2)'
m Yes ij No
Signatu re of Debtor(s)

l declare under penalty of perjury that the above indicates my intention as to any pr perty of my estate securing a debt
and/or personal property subject to an unexpired |ease.

Daie; 12/21/2011 Debtor: %j d k'777

Date: 12;21 42011 Joint Debtor:\ M(

 

Page 2 of

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B 8 (Official Form 8) (12/08)
\
FQRM B8 (12/08)

DECLARAT|ON OF NON-ATTORNEY BANKRUPTCY PET|T|ON PREPARER (See 11 U S C § 110)

| declare under penalty of perjury that: (1) l am a bankruptcy petition preparer as defined in 11 U S C. § 110, (2) | prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C §§ 110(h),
110(h), and 342(b), and, (3) if rules or guidelines have been promulgated pursuant to 11 U S C § 110(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, l have given the debtor notice of the maximum amount before preparing any document for filing for a
debtor or accepting any fee from the debtor, as required in that section.

BOB PALMER XXX-XX-XXXX

 

 

Printed or Typed Name of Bankruptcy Petition Preparer Social Security No. (Required under 11 U S.C. § 110.)

/f the bankruptcy petition preparer is not an individual, state the name, title (if any), address and social security number of the officer,
pnnci'pal,
responsible person or partner who signs this document

848 CASSAT AVE.

 

 

Jacksonville FL 32205
Address

X 12/21/2011
BOB PALME Date

Signature of Bankruptcy Petition Preparer

 

 

 

Names and Social Security Numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition
preparer is not an individual'

None

lf more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer‘s failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result i'n fines or
imprisonment orboth 11 U S C §110, 18 U S C §156

 

Page 3

of

_3

Case 3211-bk-OQl85-.]AF DOC 1 Filed 12/22/11

AMERICAN RECOVERY SYSTEMS
3577 CARDINAL POINT DR
JRCKSONVILLE, FL 32257

BARCLAYS BANK DELAWARE
PO BOX 8803

WILMINGTON, DE 19899-8803
BOB PALMER

848 CASSAT AVE.
JACKSONVILLE, FL 32205

CAPITAL ONE
PO BOX 30281

SALT LAKE CITY, UT 84130
CHASE BANK USA

PO BOX 15298

WILMINGTON, DE 19850
CHASE/CIRCUIT CITY

PO BOX 15298

WILMINGTON, DE 19850

CITI MORTGAGE
PO BOX 9438
GAITHERSBURG, MD 20898

DELL COMPUTER/WEB BANK
PO BOX 81577

AUSTIN, TX 78708

ENHANCED RECOVERY CO LLC
8014 BAYBERRY RD

JACKSONVILLE, FL 32256

GE/JCPENNEY
PO BOX 965007

ORLANDO, FL 32896

GECRB/QVC
PO BOX 965018

ORLANDO, FL 32896

GECRBPAYPAL
PO BOX 981064

EL PASO, TX 79998

GEMB
PO BOX 965005
ORLANDO, FL 32896

HSBC BANK
PO BOX 5253

CAROL STREAM, IL 60197

ROYAL A. HURLBERT III
3129 OVERHILL DR.

JACKSONVILLE, FL 32277

ADRIENNE A. HURLBERT
3129 OVERHILL DR.

JACKSONVILLE, FL 32277
I.R.S.
ATLANTA, GA 39901

MERRICK BANK
10705 S JORDAN GTWY #200
SOUTH JORDAN, UT 84095

MIDLAND CREDIT MANAGEMENT
8875 AERO DR

SAN DIEGO, CA 92123

NCO FlNANClAL
PO BOX 13570

PHILADELPHIA, PA 19101

NISSAN MOTOR ACCEPTANCE
8900 FREEPORT PKWY
IRVING, TX 75063

POLLACK & ROSEN, P.A.
800 DOUGLAS RD N.T. #450
MIAMI, FL 33134

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PORTFOLIO RECOVERY ASSOCIATE
120 CORPORATE BLVD #100
NORFOLK, VA 23502

SECOND ROUND
1330 WONDER WORLD DR #104
SAN MARCOS, TX 78666

SPRECHMAN & ASSOCIATES, P.A.
2775 SUNNY ISLES BLVD. #100
NORTH MIAMI BEAC, FL 33160

SST/CIGPFlCORP
800 BROOKSEDGE BLVD.
WILMINGTON, DE 19801

SST/COLUMBUS BANK & TRUST
4315 PICKETT RD

SAINT JOSEPH, MO 64503

TARGET NATIONAL BANK
PO BOX 673

MINNEAPOLIS, MN 55440

WELLS FARGO BANK, N.A.
PO BOX 10335
DES MOINES, IA 50306

ZAKHEIM & LAVRAR, P.A.
1045 S UNIVERSITY DR #202
FORT LAUDERDALE, FL 33324

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UN|TED STATES BANKRUPTCY COURT
` MlDDLE DlSTRlCT OF FLOR|DA
NORTHERN DlVlSlON

ln l’€ ROYAL A. HURLBERT III Case NO.
and Chapter 7
ADRIENNE A. HURLBERT
aka ADRIENNE AmONS
/Debtor

 

Attorney for Debtor: In Pro Per

VER|F|CAT|ON OF CRE_D|TOR MATR|X

The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

22an

Date: 12/21/2011
Deb or '

titlth liu

Jotrti Debtor

best of our knowledge

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Bl9 (Official Form 19) (12/07)

United States Bankruptcy Court
iviiDDi_E District Of FLoRiDA

m re ROYAL A. i-iuRLBERT iii , Case NO_
Debtor

 

Chapter 7

DECLARATION AND SlGNATURE OF NON-ATTORNEY
BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

l declare under penalty of perjury that: (l) l am a bankruptcy petition preparer as defined
in ll U.S.C. § l l(); (2) I prepared the accompanying document(s) listed below for compensation
and have provided the debtor With a copy ot` the document(s) and the attached notice as required
by l l U.S.C. §§ l lO(b), l lO(h), and 342(b); and (3) ifrules or guidelines have been promulgated
pursuant to l l U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any
document for filing for a debtor or accepting any fee from the debtor, as required by that section.

 

 

 

 

 

Accompanying documents: Printed or Typed Name and Title, it` any, of
PETlTiON Bankruptcy Petition Preparer:

SCHEDULES BOB PALMER

STATEMENT OF AFFA|RS Social-Security No. of Bankruptcy Petition
lNTENT|ONS Preparer (Required by ll U.S.C. § llO):
MATR|X XXX-XX-XXXX

 

 

If the bankruptcy petition preparer is not an individual, state the name, title ( if any), address,
and social-security number of the officer, principal, responsible person, or partner who signs
this document

 

243 ARL|NGTON RD NN 32211

Ad /_\

ress

X <>56‘¢ (<`%/i// L/:/;////
Signature ofBankrupR:§ etition Preparer Date / /

Names and social-security numbers of all other individuals who prepared or assisted in preparing
this document, unless the bankruptcy petition preparer is not an individual:

 

 

If more than one person prepared this document attach additional signed sheets conforming to the
appropriate Ojicial F orm for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title ll and the Federal
Rules of Bankruptcy Procedure may result in fines or imprisonment or both. ll U.S.C. § 110; 18
U.S.C. § 156.

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819 (Official Form 19) (12/07) - Cont. 2

NOTICE TO DEBTOR BY NON-ATTORNEY BANKRUPTCY PETITION PREPARER
[Must be filed with any document(s) prepared by a bankruptcy petition preparer.]

I am a bankruptcy petition preparer. I am not an attorney and may not practice law or give
legal advice. Before preparing any document for filing as defined in § 110(a)(2) of the Bankruptcy
Code or accepting any fees, 1 am required by law to provide you with this notice concerning
bankruptcy petition preparers. Under the law, § 1 10 of the Bankruptcy Code (1 1 U.S.C. § 110), l am
forbidden to offer you any legal advice, including advice about any of the following:

' whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

' whether commencing a case under chapter 7, 11, 12, or 13 is appropriate;

’ whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

- whether you will be able to retain your home, car, or other property after commencing a case
under the Bankruptcy Code;

' the tax consequences of a case brought under the Bankruptcy Code;

' the dischargeability of tax claims;

- whether you may or should promise to repay debts to a creditor or enter into a reaffirmation
agreement with a creditor to reaffirm a dcbt;

~ how to characterize the nature of your interests in property or your debts; or

' bankruptcy procedures and rights.

[The notice may provide additional examples of legal advice that a bankruptcy petition preparer is
not authorized to give.]

In addition, under 11 U.S.C. § 110(h), the Supreme Court or the .l udicial Conference of the
United States may promulgate rules or guidelines setting a maximum allowable fee chargeable by a
bankruptcy petition preparer. As required by law, 1 have notified you of this maximum allowable
fee, if any, before reparing any document for filin or accepting any fee from you.

a/_ /z://-// llutMt)<kt”vdlr/L \>l"el l\

Sig/nature'of Debtor Date Joint Debtor (if any) Date

 

[In a joint case. both spouses must sign.]

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BZSO (Form 280) (10/05)

United States Bankruptcy Court

iviiooLE District Of FLORIDA

fn re ROYAL A. HURLBERT l||
and Case No.
ADR|ENNE A. HURLBERT Chapter 7

 

Debtor

DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER

[ This form must be filed with the petition if a bankruptcy petition preparer prepares the petition 11 U.S. C. § 110(h)(2).]

Under 1 1 U.S.C. § 1 lO(h), I declare under penalty of perjury that l am not an attorney or employee of an attomey. that I prepared
or caused to be prepared one or more documents for filing by the above-named debtor(s) in connection with this bankruptcy case,
and that compensation paid to me within one year before the filing of the bankruptcy petition, or agreed to be paid to me, for
services rendered on behalf`ot` the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

 

 

F or document preparation services I have agreed to accept ............................... $ 450'00
Prior to the filing of this statement 1 have received ............................................. $ 450'00
Balance Due ......................................................................................................... $ 0 00
2. I have prepared or caused to be prepared the following documents (itemize):
ALL
and provided the following services (itemize):
TYP|NG OF FORMS
3. The source of the compensation paid to me was:
Debtor l:l Other (specify)
4. The source of compensation to be paid to me is:
12 Debtor s s l:l Other (specify)
5, The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation of the petition filed
by the debtor(s) in this bankruptcy case.
6. To my knowledge no other person has prepared for compensation a document for filing in connection with this bankruptcy case
except as listed below:
E SOCIAL SECURITY NUMBER
X / XXX-XX-XXXX / LA/ /,//
Signature Social Security number of bankruptcy ( /Eate /
BOB PALMER petition preparer (If` the bankruptcy
Printed name and title. it`any, of Bankruptcy petition preparer is not an individual.
Petition Preparer state the Social Security number of the
Address: officer, principal. responsible person or
243 ARLINGTON RD N partner ofthe bankruptcy petition preparer.)
JAX., FL 32211 (Required by ll U.S.C. § 110.)

 

 

A bankruptcy petition preparer's failure to comply with the provisions of title 1 1 and the F ederal Rules of Bankruptcy Procedure may result
in/ines or imprisonment or both. 11 U.S. C. § l l(); 18 U.S. C. § 156.

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BZZA (Cfficial Form 22A) (Chapter 7) (12/10)

 

According to the information required to be entered on this

statement (check one box as directed in Part l, l|l, or Vl of this
ln re ROYAL A. HURLBERT and ADR|ENNE HURLBERT
lXI The presumption arises.

Debtor(s)
I:l The presumption does not arise.
Case Number ___ l:l The presumption is temporarily inapplicable.
('f known) (Check the box as directed in Parts |, ll|, and Vl of this statement )

 

 

 

CHAPTER 7 STATEMENT OF CURRENT MONTHLY |NCOME
AND MEANS-TEST CALCULAT|ON
ln addition to Schedules l and J, this statement must be completed by every individual chapter 7 debtor lf none of the exclusions in Part l

applies joint debtors may complete one statement only lf any of the exclusions in Part l applies joint debtors should complete separate
statements if they believe this is required by§ 707(b)(2)(C).

 

Part l. MlLlTARY AND NON-CONSUMER DEBTORS

 

Disabled Veterans. lf you are a disabled veteran described in the Dec|aration in this Part lA, (1) check the box at the beginning
of the Dec|aration, (2) check the box for "The presumption does not arise“ at the top of this statement and (3) complete the
verification in Part Vl|l Do not complete any of the remaining parts of this statement

13 Dec|aration of Disabled Veteran. By checking this box, l declare under penalty of perjury that l am a disabled veteran (as
defined in 38 U S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which l was on active duty (as
defined in 10 U S C § 101(d)(1)) or while l was performing a homeland defense activity (as dehned in 32 U S.C. §901(1)).

 

Non-consumer Debtors.lf your debts are not primarily consumer debts, check the box below and complete the verification in

13 Part Vlll. Do not complete any of the remaining parts of this statement.

l:l Dec|aration of non-consumer debts. By checking this box, l declare that my debts are not primarily consumer debts.

 

Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the
Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after
September 11, 2001, for a period of at least 90 days or who have performed homeland defense activity (as defined in 32 U S.C.

§ 901 (1 )) for a period of at least 90 days are excluded from all forms of means testing during the time of active duty or homeland
defense activity and for 540 days thereafter (the “exclusion period"). lf you qualify for this temporary exclusion, (1) check the
appropriate boxes and presumption is temporarily inapplicable” at the top of this statement, and (3) complete the verification iri Part
Vll|. complete any required information in the Declaration of Reservists and National Guard Members below, (2) check the box for
“The presumption is temporarily inapplicable” at the top of this statement, and (3) complete the verification in Part Vlll

During your exclusion period you are not required to complete the balance of this form, but you must complete

the form no later than 14 days after the date on which your exclusion period ends unless the time for filing a

motion raising the means test presumption expires in your case before your exclusion period ends.

l:] Dec|aration of Reservists and National Guard MembersBy checking this box and making the appropriate entries below, l
declare that l am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the

Armed Forces or the National Guard

1C

a- l:l l was called to active duty after September 11, 2001, for a period of at least 90 days and

I:I l remain on active duty /or/
[] l was released from active duty on , which is less than 540 days before this bankruptcy case was filed,

OR

b. l:l l am performing homeland defense activity for a period of at least 90 days lor/
l:l l performed homeland defense activity for a period of at least 90 days, terminating cm , which is less than 540
days before this bankruptcy case was filed.

 

 

 

 

Case 3:11-bk-09185-.]AF Doc 1 Filed 12/22/11 Page 45 of 51

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

BZZA (Official Form 22A) (Chapter 7) (12/10) - Cont 2
Part ii. cALcuLATioN oF MONTHLY iNcoME FoR § 707(b)(7) ExcLusioN
Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
a. l:l Unmarried. Complete only Co|umn A ("Debtor’s lncome") for Lines 3-11.
b. [l Mamed, not filing jointly, with declaration of separate households By checking this box, debtor declares under
penalty of perjury' "My spouse and l are legally separated under applicable non-bankruptcy law or my spouse and l are
living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code "
Complete only Co|umn A ("Debtor’s lncome") for Lines 3-11.
2 c. l:l Mamed, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
Co|umn A ("Debtor’s lncome") and Co|umn B ("Spouse’s lncome") for Lines 3-11.
d. Xl Married, hling jointly. Complete both Co|umn A ("Debtor’s lncome") and Co|umn B ("Spouse’s lncome") for
Lines 3-11.
All figures must reflect average monthly income received from all sources derived during the six
.. Co|umn A Co|umn B
calendar months prior to hling the bankruptcy case, ending on the last day of the month before the filing.
lf the amount of monthly income varied during the six months you must divide the six month total by six, Debtor's Spouse's
and enter the result on the appropriate line m c 0 m e lncome
3 Gross wages salary, tips bonuses overtime, commissions $2,800.00 $2,100 00
income from the operation of a business profession, or farmSubtract Line b from Line a and enter the
difference in the appropriate column(s) of Line 4 lf you operate more than one business profession or
farm, enter aggregate numbers and provide details on an attachment Do not enter a number less than zero,
4 Do not include any part of the business expenses entered on Line b as a deduction in Part V.
a. Gross receipts $0.00
b. Ordinary and necessary business expenses $0.00
, , _ $0.00 $0.00
c. Business income Subtract Line b from Line a
Rent and other real property income. Subtract Line b from Line a and enter the difference
in the appropriate column(s) of Line 5 Do not enter a number less than zero Do not include
any part of the operating expenses entered on Line b as a deduction in Part V.
5 a Gross receipts $0 00
b. Ordinary and necessary operating expenses $0.00
c Rent and other real property income Subtract Line b from Line a $0_00 $0 00
6 interest, dividends and royalties. $0 00 $0 00
7 Pension and retirement income. $0.00 $0.00
Any amounts paid by another person or entity, on a regular basis, for the household expenses of
the debtor or the debtor's dependents including child support paid for that purpose.
8 Do not include alimony or separate maintenance payments or amounts paid by your spouse if Co|umn B is
completed Each regular payment should be reported in only one column; if a payment is listed in Co|umn A, $0~00 $0 00
do not report that payment in Co|umn B.
Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
However, if you contend that unemployment compensation received by you or your spouse
was a benefit under the Social Security Act, do not list the amount of such compensation in
9 Co|umn A or B, but instead state the amount in the space below.
Unemployment compensation claimed to
be a benth under the Social Security Act Debtor $0-00 Spouse $0-00 $0.00 $0 00
lncome from all other sources. Specify source and amount lf necessary, list additional sources on a
separate page Do not include alimony or separate maintenance payments paid by your spouse
10 if Co|umn B is completed, but include all other payments of alimony or separate maintenance.
Do not include any benefits received under the Social Security Act or payments received as a victim of a war
crime, crime against humanity, or as a victim of international or domestic terrorism.
a. 0
b. 0
Total and enter on Line 10 $0.00 $0.00
Subtotal of Current Monthly lncome for § 707(b)(7). Add Lines 3 thru 10 in
11 Co|umn A, and, if Co|umn B is completed, add Lines 3 through 10 in Co|umn B Enter the
tota|(s) $2,800.00 $2,100 00

 

 

 

 

 

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12

 

Total Current Month|y lncome for § 707(b)(7). lf Co|umn B has been completed,
add Line 11, Co|umn A to Line 11, Column B, and enter the total. lf Co|umn B has not been
completed, enter the amount from Line 11, Co|umn A. $4,900.00

 

 

 

Part l||. APPL|CATION OF § 707(b)(7) EXCLUS|ON

 

13

Annualized Current Month|y lncome for § 707(b)(7). Multiply the amount from Line 12 by
the number 12 and enter the result

$58,800 00

 

14

Applicab|e median family income. Enter the median family income for the applicable state and
household size (This information is available by family size at www usdgj` gov/usfl or from the clerk of
the bankruptcy court.)

a. Enter debtor's state of residence FLOR|DA b. Enter debtors household size. 3

 

$52,840.00

 

15

 

Application of Section 707(b)(7). Check the applicable box and proceed as directed.

l:] The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does
not arise" at the top of page 1 of this statement, and complete Part Vlll; do not complete Parts |V, V, Vl, or Vll.

Xl The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this
statement

 

Complete Parts |V, V, V|, and Vl| of this statement only if required. (See Line 15).

 

Part |V. CALCULAT|ON OF CURRENT MONTHLY |NCOME FOR § 707(b)(2)

 

16

Enter the amount from Line 12.

$4,900 00

 

17

Marital adjustment lf you checked the box at Line 2 c, enter on Line 17 the total of any income listed in Line 11,
Co|umn B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
dependents Specify in the lines below the basis for excluding the Co|umn B income (such as payment of the
spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor's dependents) and

the amount of income devoted to each purpose lf necessary, list additional adjustments on a separate page. lf
you did not check box at Line 2.c, enter zero.

 

a $0.00

 

b $0 00

 

c $0.00

 

 

 

 

 

Total and enter on Line 17

$0.00

 

18

 

Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result

 

$4,900.00

 

 

Part V. CALCULAT|ON OF DEDUCT|ONS FROM |NCOME

 

Subpart A: Deductions under Standards of the internal Revenue Service (lRS)

 

 

19A

 

National Standards: food, clothing, and other items. Enter in Line 19A the “Total” amount from |RS National
Standards for Food, Clothing and Other items for the applicable number of persons (This information is available
at www usdgj gov/ust/ or from the clerk of the bankruptcy court ) The applicable number of persons is the

number that would currently be allowed as exemptions on your federal income tax return, plus the number of

any additional dependents whom you support

 

$1,171.00

 

 

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198

National Standards: health care. Enter in Line a1 below the amount from lRS National Standards for Out-of-Pocket
Health Care for persons under 65 years of age, and in Line a2 the lRS National Standards for Out-of-Pocket

Health Care for persons 65 years of age or older. (This information is available at www usdo'.govlustl or

from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons who are under 65

years of age, and enter in Line b2 the applicable number of persons who are 65 years of age or older. (The

applicable number of persons in each age category is the number in that category that would currently be

allowed as exemptions on your federal income tax return, plus the number of any additional dependents whom

you support.) Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in

Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line

c2. Add Lines c1 and c2 to obtain a total health care amount, and enter the result in Line 19B.

 

Household members under 65 years of age Household members 65 years of age or older

 

31_ Allowance per member $60.00 az_ Allowance per member $144.00

 

b1 Number of members 0 bz, Number of members 0

 

 

 

 

 

 

 

 

<;1_ Subtotal $0 00 c2_ Subtotal $0.00

 

 

$0.00

 

20A

Local Standards: housing and utilities; non-mortgage expenses Enter the amount of the

lRS Housing and Utilities Standards non-mortgage expenses for the applicable county and family size. (This
information is available at www.usdo gov/usfl or from the clerk of the bankruptcy court) The applicable family
size consists of the number that would currently be allowed as exemptions on your federal income tax return,
plus the number of any additional dependents whom you support

$491.00

 

20B

Local Standards: housing and utilities; mortgage/rent expenses.Enter, in Line a below, the amount of the lRS
Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is available
at Www usdgj§ggv/ust/ or from the clerk of the bankruptcy court) (the applicable family size consists of the
number that would currently be allowed as exemptions on your federal income tax return, plus the number of any
additional dependents whom you support); enter on Line b the total of the Average Monthly Payments for any debts
secured by your home, as stated in Line 42, subtract Line b from Line a and enter the result in Line 203

Do not enter an amount less than zero.

 

a. lRS Housing and Utilities Standards mortgage/rental expense $1,130.00

 

b. Average Monthly Payment for any debts secured by your
home, if any, as stated in Line 42 $0.00

 

 

 

 

 

c. Net mortgage/rental expense Subtract Line b from Line a.

 

$1,130.00

 

21

Local Standards: housing and utilities; adjustment. lf you contend that the process set out in
Lines 20A and 20B does not accurately compute the allowance to which you are entitled under the lRS
Housing and Utilities Standards enter any additional amount to which you contend you are entitled, and
state the basis for your contention in the space below:

 

 

 

 

$0.00

 

22A

Local Standards: transportation; vehicle operation/public transportation expense.
You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
operating a vehicle and regardless of whether you use public transportation

Check the number of vehicles for which you pay the operating expenses or for which the operating
expenses are included as a contribution to your household expenses in Line 8.

X|O |___|1|]20rmore.

lf you checked 0, enter on Line 22A the “Pub|ic Transportation" amount from lRS Local Standards Transportation lf
you checked 1 or 2 or more, enter on Line 22A the “Operating Costs" amount from lRS Local Standards
Transportation for the applicable number of vehicles in the applicable Metropolitan Statisticai Area or Census

Region (These amounts are available at www.usdg .gov/ust/ or from the clerk of the bankruptcy court.)

$182.00

 

 

223

 

Local Standards: transportation; additional public transportation expense. lf you pay the operating expenses
for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction

for your public transportation expenses enter on Line 22B the “Pub|ic Transportation" amount from lRS Local

Standards Transportation. (This amount is available at www.usdt_)j gov/usfl or from the clerk of the bankruptcy

 

$0.00

 

 

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23

Local Standards: transportation ownership/lease expense; Vehic|e 1. Check the number
of vehicles for which you claim an ownership/lease expense (You may not claim an ownership/lease
expense for more than two vehicles )

|:|1[]20rmore

Enter, in Line a below, the “Ownership Costs” for “One Car” from the lRS Local Standards: Transportation
(avai|able at www.usdoi.gov/ust/or from the clerk of the bankruptcy court), enter in Line b the total of the Average
Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from

Line a and enter the result in Line 23. Do not enter an amount less than zero.

 

a lRS Transportation Standards, Ownership Costs $0_00

 

b Average Monthly Payment for any debts secured by Vehicle 1,
as stated in Line 42 $0.00

 

 

c Net ownership/lease expense for Vehic|e 1 Subtract Line b from Line a.

 

 

 

 

$0.00

 

24

Local Standards: transportation ownership/lease expense; Vehicle 2.

Complete this Line only if you checked the "2 or more" Box in Line 23

Enter, in Line a below, the “Ownership Costs” for “One Car” from the lRS Local Standards: Transportation
(avai|able at www.usdo‘.ng/usg or from the clerk of the bankruptcy couit), enter in Line b the total of

the Average Monthly Payments for any debts secured by Vehic|e 2, as stated in Line 42; subtract Line b
from Line a and enter the result in Line 24. Do not enter an amount less than zero.

 

a. lRS Transportation Standards, Ownership Costs $0 00

 

b_ Average Monthly Payment for any debts secured by Vehic|e 2,
as stated in Line 42 $0,00

 

c Net ownership/lease expense for Vehicle 2 Subtract Line b from Line a

 

 

 

 

 

$0 00

 

25

Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
for all federa|, state and local taxes, other than real estate and sales taxes, such as income taxes, self
employment taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales
taxes,

$0.00

 

26

other Necessary Expenses: mandatory payroll deductions for employment. Enter the total average monthly
payroll deductions that are required for your employment such as retirement contributions, union dues and uniform costs.
Do not include discretionary amounts, such as voluntary 401(k) contributions.

$0 00

 

27

Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually
pay for term life insurance for yourse|f. Do not include premiums for insurance on your dependents,
for whole life or for any other form of insurance.

$0.00

 

28

Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required
to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments.
Do not include payments on past due support obligations included in Line 44.

$0.00

 

29

Other Necessary Expenses: education for employment or for a physically or mentally

challenged child. Enter the total average monthly amount that you actually expend for education that is a
condition of employment and for education that is required for a physically or mentally challenged dependent
child for whom no public education providing similar services is available

$0.00

 

30

Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.

$0 00

 

31

Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on health
care that is required for the health and welfare of yourself or your dependents that is not reimbursed by insurance or

paid by a health savings account, and that is in excess of the amount entered in Line 19B.

Do not include payments for health insurance or health savings accounts listed in Line 34.

$0.00

 

32

Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
actually pay for telecommunication services other than your basic home telephone and cell phone service -- such as
pagers, call waiting, caller id, special long distance, or internet service -- to the extent necessary for your health

and welfare or that of your dependents Do not include any amount previously deducted.

$0.00

 

 

33

 

Total Expenses Allowed under lRS Standards. Enter the total of Lines 19 through 32

 

$2,974 00

 

 

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Subpart B: Additional Living Expense Deductions
Note: Do not include any expenses that you have listed in Lines 19-32

 

34

Health lnsurance, Disabi|ity lnsurance and Health Savings Account Expenses. List the monthly expenses in the
categories set out in lines a-c below that are reasonably necessary for yourse|f, your spouse, or your dependents.

 

a Health lnsurance $0.00

 

b. Disabi|ity lnsurance $0.00

 

c Health Savings Account $0 00

 

 

 

 

 

Total and enter on Line 34

|f you do not actually expend this total amount, state your actual total average monthly expenditures in the
space below.

$0.00

$0.00

 

35

Continued contributions to the care of household or family members. Enter the total average actual
monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
elderly, chronically ill, or disabled member of your household or member of your immediate family who is
unable to pay for such expenses

$0.00

 

36

Protection against family violence. Enter the total average reasonably necessary monthly expenses that you actually
incurred to maintain the safety of your family under the Fami|y Violence Prevention and Services Act or
other applicable federal law. The nature of these expenses is required to be kept conhdentia| by the court

$0 00

 

37

l-lome energy costs. Enter the total average monthly amount, in excess of the allowance specified by lRS

Local Standards for Housing and Utilities, that you actually expend for home energy costs You must
provide your case trustee with documentation of your actual expenses, and you must demonstrate that
reasonable and necessary and not already accounted for in the lRS Standards.

$O 00

 

38

Education expenses for dependent children less than 18. Enter the total average monthly expenses that
you actually incur, not to exceed $147 50* per child, for attendance at a private or public elementary or

secondary school by your dependent children less than 18 years of age You must provide your case trustee
with documentation of your actual expenses, and you must explain why the amount claimed is
reasonable and necessary and not already accounted for in the lRS Standards.

$0.00

 

39

Additional food and clothing expense. Enter the total average monthly amount by which your food and
clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the lRS National
Standards, not to exceed 5% of those combined allowances (This information is available at www usdoi.gov/ustl
or from the clerk of the bankruptcy court ) You must demonstrate that the additional amount claimed is
reasonable and necessary.

$0.00

 

40

Continued charitable contributions. Enter the amount that you will continue to contribute in the
form of cash or nnancial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).

$0 00

 

41

Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40

$0.00

 

Subpart C: Deductions for Debt Payment

 

 

42

 

Future payments on secured claims. For each of your debts that is secured by an interest in proprerty that
you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
filing of the bankruptcy case, divided by 60. |f necessary, list additional entries on a separate page Enter

the total of the Average Monthly Payments on Line 42

 

Name of Creditor Property Secunng the Debt Average Does payment
Monthly include taxes
Payment or insurance?

 

$0.00 m yes [Ino

 

gm

$0 00 |:l yes [:Ino

 

0

$0 00 |:l yes l:|no

 

d $0.00 1:] yes l:lno

 

 

e' $0 00 l:\ yes l:]no

 

Total: Add Lines a - e

 

 

 

 

 

 

 

$0.00

 

 

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43

Other payments on secured claims. |f any of the debts listed in Line 42 are secured by your primary
residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor

in addition to the payments listed in Line 42, in order to maintain possession of the property The cure amount
would include any sums in default that must be paid in order to avoid repossession or foreclosure List and
total any such amounts in the following chart lf necessary, list additional entries on a separate page

 

Name of Creditor Property Secunng the Debt 1/60th of the Cure Amount

 

$0 00
$0.00
$0 00
$0.00
$0.00

 

 

 

 

weo.vs\>

 

 

 

Total: Add Lines a - e $0.00

 

 

 

 

 

Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
Do not include current obligations, such as those set out in Line 28. $0_00

 

45

Chapter 13 administrative expenses. lf you are eligible to file a case under Chapter 13, complete
the following chart, multiply the amount in line a by the amount in line b, and enter the resulting
administrative expense.

 

a_ Proiected average monthly Chapter 13 plan payment $0 00

 

b. Current multiplier for your district as determined under
schedules issued by the Executive Office for United States
Trustees. (This information is available at www usdoi gov/ust/
or from the clerk of the bankruptcy court ) x 0,07

 

 

 

 

C, Average monthly administrative expense of Chapter 13 case Total: Multiply Lines a and b $0.00

 

 

 

46

Total Deductions for Debt Payment_ Enter the total of Lines 42 through 45. $0.00

 

Subpart D: Total Deductions from lncome

 

47

Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46. $2,974 00

 

Part vi. DETERMiNATioN oF § 707(b)(2) PREsuMPTioN

 

48

Enter the amount from Line 18 (Current monthly income for § 707(b)(2)) $4,900.00

 

49

Enter the amount from Line 47 (Tota| of all deductions allowed under § 707(b)(2)) $2,974 00

 

50

Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the

result $1,926.00

 

51

60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the
number 60 and enter the result $115,560 00

 

 

 

52

lnitia| presumption determination. Check the applicable box and proceed as directed.
l:l The amount on Line 51 is less than $7,025* Check the box for "The presumption does not arise" at the top of page 1 of
this statement and complete the verification in Part Vlll. Do not complete the remainder of Part Vl.
le The amount set forth on Line 51 is more than $11,725* Check the box for "The presumption arises" at the top of
page 1 of this statement and complete the verification in Part Vl|l You may also complete Part Vl|. Do not complete the remainder of Part Vl
I:I The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of Part
Vl (Lines 53 through 55).

 

53

Enter the amount of your total non-priority unsecured debt $

 

54

Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter
the result $

 

 

55

 

Secondary presumption determination. Check the applicable box and proceed as directed

I:I The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at
the top of page 1 of this statement, and complete the verification in Part Vlll.

l:\ The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption
arises" at the top of page 1 of this statement, and complete the verification in Part Vl|l You may also complete Part Vl|.

 

 

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PART V|l. ADD|T|ONAL EXPENSE CLA|MS

 

Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
health and welfare of you and your family and that you contend should be an additional deduction from your current
monthly income under § 707(b)(2)(A)(ii)(|). lf necessary, list additional sources on a separate page All figures should reflect

your average monthly expense for each item. Total the expenses

 

 

 

 

 

 

 

 

 

 

 

 

Expense Descnption Monthly Amount
56
a. $0.00
b. $0.00
c $0.00
Total Add Lines a, b, and c $0.00
Part Vl||: VERlFlCATlON
l declare under penalty of perjury that the information provided in this statement is true and correct (/f this a joint case,
both debtors must sign ) /-` f
57

 

 

Date. ZZ_&Z/ Signature
, ) .
,)’ W/\' U Signature: Mwm'\

(Joint Debtor, if any )

Date:

 

*Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment

 

 

